Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 1 of 55 PageID #: 78



                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                                LAFAYETTE DIVISION

  THE STATE OF ARIZONA, By and through
  its Attorney General,
  MARK BRNOVICH;

  THE STATE OF LOUISIANA,
  By and through its Attorney General,
  JEFF LANDRY;

  THE STATE OF MISSOURI,
  By and through its Attorney General,
  ERIC S. SCHMITT;

  THE STATE OF ARKANSAS,
  By and through its Attorney General,
  LESLIE RUTLEDGE;                           CIVIL ACTION NO. _______________

  THE STATE OF FLORIDA,
  By and through its Attorney General,
  ASHLEY MOODY;

  THE STATE OF GEORGIA,
  By and through its Attorney General,
  CHRISTOPHER M. CARR;

  THE STATE OF IDAHO,
  By and through its Attorney General,
  LAWRENCE G. WASDEN;

  THE STATE OF KANSAS,
  By and through its Attorney General,
  DEREK SCHMIDT;

  THE COMMONWEALTH OF KENTUCKY,
  By and through its Attorney General,
  DANIEL CAMERON;

  THE STATE OF MISSISSIPPI,
  By and through its Attorney General,
  LYNN FITCH;

  THE STATE OF MONTANA,
  By and through its Attorney General,
  AUSTIN KNUDSEN;

                                         1
Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 2 of 55 PageID #: 79




  THE STATE OF NEBRASKA,
  By and through its Attorney General,
  DOUGLAS J. PETERSON;

  THE STATE OF OKLAHOMA,
  By and through its Attorney General,
  JOHN M. O'CONNOR;

  THE STATE OF SOUTH CAROLINA,
  By and through its Attorney General,
  ALAN WILSON;

                                     PLAINTIFFS,

  v.

  MERRICK GARLAND in his official capacity
  as Attorney General of the United States of
  America;

  The UNITED STATES DEPARTMENT OF
  JUSTICE;

  DAVID NEAL in his official capacity as Acting
  Director of the Executive Office for Immigra-
  tion Review;

  EXECUTIVE OFFICE FOR IMMIGRATION
  REVIEW;

  ALEJANDRO MAYORKAS in his official ca-
  pacity as Secretary of Homeland Security;

  The UNITED STATES DEPARTMENT OF
  HOMELAND SECURITY;

  CHRIS MAGNUS in his official capacity as Sen-
  ior Official Performing the Duties of the Com-
  missioner of U.S. Customs and Border Protec-
  tion;

  U.S CUSTOMS AND BORDER PROTEC-
  TION;




                                                  2
Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 3 of 55 PageID #: 80



  TAE JOHNSON in his official capacity as Sen-
  ior Official Performing the Duties of Director of
  U.S. Immigration and Customs Enforcement;

  U.S. IMMIGRATION AND CUSTOMS EN-
  FORCEMENT;

  UR M. JADDOU in her official capacity as Di-
  rector of U.S. Citizenship and Immigration Ser-
  vices;

  U.S. CITIZENSHIP AND IMMIGRATION
  SERVICES;

  RAUL ORTIZ in his official capacity as Chief of
  the U.S. Border Patrol;

  U.S. BORDER PATROL;

  The UNITED STATES OF AMERICA;
                          DEFENDANTS.


                                            COMPLAINT

        The States of Arizona, Louisiana, Missouri, Arkansas, Florida, Georgia, Idaho, Kansas, Ken-

 tucky, Mississippi, Montana, Nebraska, Oklahoma, and South Carolina bring this civil action against

 the above-listed Defendants for declaratory and injunctive relief and allege as follows:

                                         INTRODUCTION
        1.      This is a suit to enforce bedrock requirements of immigration and administrative law.

        2.      On March 29, 2022, Defendants published an Interim Final Rule (the “Asylum IFR”

 or “Rule”), 87 Fed. Reg. 18,163 (Mar. 29, 2002). That Rule eviscerates crucial safeguards to our na-

 tion’s immigration system and flouts clear statutory commands enacted by Congress. Defendants’

 Asylum IFR makes it substantially easier for unauthorized economic migrants to enter the United

 States and obtain asylum through false claims. For example, Immigration Judges (“IJs”) within the

 Department of Justice’s (“DOJ”) Executive Office of Immigration Review (“EOIR”) have adjudi-

 cated nearly all asylum claims, whereas Asylum Officers (“AOs”) within the Department of Homeland


                                                    3
Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 4 of 55 PageID #: 81



 Security (“DHS”) have had the authority only to conduct an initial screening of aliens’ asylum claims,

 called a “credible fear” review. 8 U.S.C. § 1225(b)(1)(B). In direct violation of statute, the Asylum IFR

 empowers asylum officers to conduct final adjudication of asylum claims arising from the border.

         3.      Defendants effectuate this change even though, under our current system, less than

 15 percent of all asylum claims that pass DHS’s notoriously lax initial credible fear review are ultimately

 approved by IJs. EOIR review—conducted through an adversarial process in which an alien’s case is

 subjected to vigorous scrutiny—thus provides an essential safeguard against granting fraudulent and

 otherwise unmeritorious asylum claims, which the Asylum abolishes. The entirely predictable result

 will be a substantial increase in the approval rate of non-meritorious asylum claims. And that increase

 in approval rates will incentivize even higher rates of illegal immigration into the United States.

         4.      This is, however, from Defendants’ perspective almost certainly a feature and not a

 bug in the plan. Indeed, these same Defendants have in the past fifteen months taken innumerable

 actions that have resulted in both increasing unlawful crossings into the United States and the loss of

 operational control over the southwestern border. The Asylum PFR continues that trend.

         5.      The Asylum IFR would thus substantially remove DOJ from the review process. In

 doing so, the rule would largely transfer authority from immigration judges, who have a level of inde-

 pendence from political officials, to Asylum Officers, who are far more susceptible to political control

 within the Administration.

         6.      Compounding these problems, the Asylum IFR eliminates the adversarial nature of

 the adjudication of asylum claims arising from the border, continues to guarantee to aliens the right

 to be represented by counsel during asylum determinations, and eliminates any equivalent representa-

 tion for the interests of American citizens in preventing the granting of fraudulent and meritless asy-

 lum claims.




                                                     4
Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 5 of 55 PageID #: 82



         7.      The net result of all of these changes is to violate numerous statutory requirements

 that the Asylum Rule purports to “implement,” including the Immigration and Nationality Act

 (“INA”), 8 U.S.C. § 1101 et seq., the Homeland Security Act (“HSA”), Pub. L. No. 107-296 (2002),

 and the Secure Fence Act of 2006, Pub. L. No. 109-367, 120 Stat 2638 (2006).

         8.      When Congress created DHS by adopting the HSA in 2002, it stated explicitly that

 DOJ would continue to “have such authorities and functions under this chapter and all other laws

 relating to the immigration and naturalization of aliens as were exercised by the Executive Office for

 Immigration Review, or by the Attorney General with respect to the Executive Office for Immigration

 Review, on the day before the effective date.” 8 U.S.C. § 1103(g)(1); see Kaufman v. Mukasey, 524 F.3d

 1334, 1338 (D.C. Cir. 2008) (The “Homeland Security Act expressly provides that the Attorney Gen-

 eral has authority over certain immigration functions specifically relating to immigration courts”). Be-

 fore Congress passed the HSA, EOIR adjudicated the asylum claims arising out of the credible fear

 process that the Asylum IFR purports to re-assign to DHS. Defendants repeal this clear statutory

 allocation of authority by mere regulation. In doing so, Defendants have usurped Congress’s authority

 by rewriting statutory law in the guise of interpreting it.

         9.      The predictable result of the Asylum IFR is more lawlessness at the southern border,

 leaving the States to shoulder the enormous costs of Defendants’ destructive policies and a border

 beset with ever more horrifying levels of cartel violence and other security threats.

         10.     The Asylum Rule’s substantive legal violations are equally matched by its procedural

 infirmities. Defendants’ promulgation of that rule violates the Administrative Procedure Act (“APA”)

 many times over.

         11.     For example, Defendants violated the APA’s notice-and-comment requirements by

 engaging in a patent bait-and-switch. Defendants published the notice of proposed rulemaking




                                                      5
Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 6 of 55 PageID #: 83



 (‘‘NPRM’’) for the Asylum IFR on August 20, 2021. The Asylum IFR makes an astounding 23 sub-

 stantive changes to the NPRM, fundamentally altering it. The end result is an interim-final rule that is

 radically different from what was proposed to the public and on which the public submitted com-

 ments.

          12.    These changes to the Asylum IFR are not “logical outgrowths” of the NPRM—par-

 ticularly when considered cumulatively. The Asylum IFR accordingly violates the APA. Indeed, De-

 fendants themselves backhandedly acknowledge as much by issuing the rule as an Interim Final Rule

 and seeking further comment—which would hardly be necessary if the Asylum IFR bared even pass-

 ing resemblance to the proposed rule.

          13.    As the D.C. Circuit has explained, “‘if the final rule deviates too sharply from the pro-

 posal, affected parties will be deprived of notice and an opportunity to respond to the proposal,’”

 and the rule thus violates the APA. City of Waukesha v. EPA, 320 F.3d 228, 245 (D.C. Cir. 2003)

 (citation omitted). And here merely skimming Defendants’ 3,100-plus-word summary of the 23 major

 changes they made from the proposed rule is sufficient to conclude that the deviations here wildly

 exceed that “deviates too sharply” standard.

          14.    Indeed, Defendants remarkably felt compelled to claim they “are in compliance with

 the APA’s notice-and-comment requirements with respect to these changes because each change is a logical

 outgrowth of the proposals set forth in the NPRM.” 87 Fed. Reg. at 18,195 (emphasis added). But that suspi-

 ciously specific denial reads more like a confession than a defense of the Rule. Agencies that have

 properly complied with the APA typically have no need to offer such unintentionally self-aware state-

 ments; nor do they gratuitously engage in a second round of purportedly unnecessary notice-and-

 comment rulemaking.

          15.    If Defendants’ actions and perfunctory defenses seem extraordinary, that’s because

 they are. Defendants understandably cannot quite hide their unease with the sheer volume of changes



                                                     6
Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 7 of 55 PageID #: 84



 they have made in the Asylum IFR. APA violations rarely come so patent, and Defendants’ illuminat-

 ing inability to maintain their poker faces is amply apparent even from the face of the Rule itself.

         16.     The Asylum IFR also violates the APA because it is arbitrary and capricious. Among

 other violations, the Rule fails to—indeed explicitly refuses to—address reliance interests in the prior

 system, fails to consider costs it will impose on the States, fails to consider obvious alternatives, and

 fails to explain adequately departures from past practices.

         17.     The Asylum IFR also fails to consider the interaction between it and the announced

 termination of the Title 42 Orders, which even the Administration admits will cause a massive increase

 in unlawful border crossings and asylum claims.

         18.     With benefit of a month of hindsight, it is now obvious that it is no coincidence that

 the Title 42 Orders are set to be rescinded on May 23, 2022, and the Asylum IFR will become effective

 eight days later. There are obvious interactions between the two enormously important rules that have

 not been considered by Defendants in the slightest—at least formally in the Rule itself. But that hardly

 means that Defendants have not considered the interactions furtively. For example. the Administra-

 tion itself predicts that the number of illegal border crossings will nearly triple because of aliens taking

 advantage of the cancellation of Title 42. There is strong reason to suspect that the Administration

 will attempt to handle the predicted explosion in unlawful crossings by employing the unlawfully le-

 nient standard of the Asylum IFR, thus mass-dispensing asylum.

         19.     At a bare minimum, Defendants were required by the APA to consider how these two

 concurrent, enormous changes in immigration policy might interact with each other, but have not ex-

 pended a single word in doing so.

         20.     Arizona, as a border state, will be directly affected by Defendants’ decision to ignore

 the law. The Asylum IFR will exacerbate the serious drug trafficking problems associated with illegal

 immigration that have afflicted communities across the State. Drug trafficking and the resulting drug-



                                                      7
Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 8 of 55 PageID #: 85



 related crime and drug use threaten public safety and put a strain on Arizona’s limited law enforcement

 resources. Moreover, the Asylum IFR will create a flood of migrants into the State asserting non-

 meritorious asylum claims that will nonetheless be granted, which will further stress hospitals, schools,

 jails, and other social services at the local and county level.

         21.     All Plaintiff states will also be directly affected by Defendants’ decision to abdicate

 their legal obligations. The Asylum IFR is part of a wider pattern of Defendants’ refusal to enforce

 immigration laws either faithfully or adequately. These practices have incentivized, and the Asylum

 IFR will incentivize even further, an unprecedented level of illegal border activity, including a record

 influx of fentanyl at the southern border, which is trafficked into communities nationwide. Plaintiffs’

 law enforcement officers must confront rising crime as from the aliens the Asylum IFR will bring into

 the country, and the States’ social services will face stresses beyond those they are already facing be-

 cause of the COVID-19 pandemic.

         22.     Furthermore, the Asylum IFR purports to reserve residual regulatory authority to

 adopt additional regulations outside of the APA’s notice-and-comment requirements by promulgating

 so-called future “guidance” that would purport to empower DHS to parole aliens into the United

 States in violation of the INA’s commands, essentially setting out a welcome mat for unauthorized

 aliens crossing the border, rather than detaining them as Congress has commanded. See 8 U.S.C. §

 1225(b) (requiring detention of aliens awaiting adjudication of their asylum claim and aliens who are

 “not clearly and beyond a doubt entitled to be admitted,” unless narrow exceptions apply).

                                                 PARTIES
         23.     Plaintiff State of Arizona is a sovereign state of the United States of America. Arizona

 sues to vindicate its sovereign, quasi-sovereign, and proprietary interests, including its interests in pro-

 tecting its citizens. Arizona brings this suit through its Attorney General, Mark Brnovich. He is the




                                                      8
Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 9 of 55 PageID #: 86



 chief legal officer of the State of Arizona and has the authority to represent the State in federal court.

 His offices are located at 2005 North Central Avenue, Phoenix, Arizona 85004.

         24.     Plaintiff State of Louisiana is a sovereign State of the United States of America. Loui-

 siana sues to vindicate its sovereign, quasi-sovereign, and proprietary interests, including its interests

 in protecting its citizens. Louisiana brings this suit through its Attorney General, Jeff Landry. He is

 authorized by Louisiana law to sue on the State’s behalf. His offices are located at 1885 North Third

 Street, Baton Rouge, Louisiana 70802.

         25.     Plaintiff State of Missouri is a sovereign State of the United States of America. Mis-

 souri sues to vindicate its sovereign, quasi-sovereign, and proprietary interests, including its interests

 in protecting its citizens. Missouri brings this suit through its Attorney General, Eric S. Schmitt. He is

 authorized by Missouri law to sue on the State’s behalf. His address is P.O. Box 899, Jefferson City,

 Missouri 65102.

         26.     Plaintiff State of Arkansas is a sovereign State of the United States of America. Arkan-

 sas sues to vindicate its sovereign, quasi-sovereign, and proprietary interests, including its interests in

 protecting its citizens. Arkansas brings this suit through its Attorney General, Leslie Rutledge. She is

 authorized by Arkansas law to sue on the State’s behalf. Her address is 323 Center Street, Suite 200,

 Little Rock, Arkansas 72201.

         27.     Plaintiff State of Florida is a sovereign State of the United States of America. Florida

 sues to vindicate its sovereign, quasi-sovereign, and proprietary interests, including its interests in pro-

 tecting its citizens. Florida brings this suit through its Attorney General Ashley Moody. She is author-

 ized by Florida law to sue on the State’s behalf. Her address is The Capitol, Pl-01, Tallahassee, Florida

 32399-1050.




                                                      9
Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 10 of 55 PageID #: 87



         28.      Plaintiff State of Georgia is a sovereign State of the United States of America. Georgia

 sues to vindicate its sovereign, quasi-sovereign, and proprietary interests, including its interests in pro-

 tecting its citizens. Georgia brings this suit through its Attorney General, Christopher M. Carr. He is

 authorized by Georgia law to sue on the State’s behalf. His address is 40 Capitol Square, S.W., Atlanta,

 Georgia 30334.

         29.      Plaintiff State of Idaho is a sovereign State of the United States of America. Idaho sues

 to vindicate its sovereign, quasi-sovereign, and proprietary interests, including its interests in protect-

 ing its citizens. Idaho brings this suit through its Attorney General, Lawrence G. Wasden. He is au-

 thorized to sue on the State’s behalf. His address is P.O. Box 83720, Boise, Idaho 83720-0010.

         30.      Plaintiff State of Kansas is a sovereign State of the United States of America. Kansas

 sues to vindicate its sovereign, quasi-sovereign, and proprietary interests, including its interests in pro-

 tecting its citizens. Kansas brings this suit through its Attorney General, Derek Schmidt. He is author-

 ized by Kansas law to sue on the State’s behalf. His address is 120 SW Tenth Avenue, 3rd Floor,

 Topeka, Kansas 66612-1597.

         31.      Plaintiff Commonwealth of Kentucky is a sovereign State of the United States of

 America. Kentucky sues to vindicate its sovereign, quasi-sovereign, and proprietary interests, including

 its interests in protecting its citizens. Kentucky brings this suit through its Attorney General, Daniel

 Cameron. He is authorized by Kentucky law to sue on the State’s behalf. His address is 700 Capital

 Avenue, Suite 118, Frankfort, Kentucky 40601.

         32.      Plaintiff State of Mississippi is a sovereign State of the United States of America. Mis-

 sissippi sues to vindicate its sovereign, quasi-sovereign, and proprietary interests, including its interests

 in protecting its citizens. Mississippi brings this suit through its Attorney General, Lynn Fitch. She is

 authorized by Mississippi law to sue on the State’s behalf. Her address is 550 High Street, Suite 1200,

 Jackson, Mississippi 39201.



                                                      10
Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 11 of 55 PageID #: 88



          33.    Plaintiff State of Montana is a sovereign State of the United States of America. Mon-

 tana sues to vindicate its sovereign, quasi-sovereign, and proprietary interests, including its interests in

 protecting its citizens. Montana brings this suit through its Attorney General, Austin Knudsen. He is

 authorized to sue on the State’s behalf. His address is 215 N Sanders St., Helena, Montana 59601.

          34.    Plaintiff State of Nebraska is a sovereign State of the United States of America. Ne-

 braska sues to vindicate its sovereign, quasi-sovereign, and proprietary interests, including its interests

 in protecting its citizens. Nebraska brings this suit through its Attorney General, Douglas J. Peterson.

 He is authorized to sue on the State’s behalf. His address is 2115 State Capitol, Lincoln, Nebraska

 68509.

          35.    Plaintiff State of Oklahoma is a sovereign State of the United States of America. Ok-

 lahoma sues to vindicate its sovereign, quasi-sovereign, and proprietary interests, including its interests

 in protecting its citizens. Oklahoma brings this suit through its Attorney General, John M. O'Connor.

 He is authorized by Oklahoma law to sue on the State’s behalf. His address is 313 NE 21st Street,

 Oklahoma City, Oklahoma 73105.

          36.    Plaintiff State of South Carolina is a sovereign State of the United States of America.

 South Carolina sues to vindicate its sovereign, quasi-sovereign, and proprietary interests, including its

 interests in protecting its citizens. South Carolina brings this suit through its Attorney General, Alan

 Wilson. He is authorized by South Carolina law to sue on the State’s behalf. His address is P.O. Box

 11549, Columbia, South Carolina 29211.

          37.    Plaintiffs States are required to spend state monies on Emergency Medicaid, including

 for unauthorized aliens. 42 C.F.R. § 440.255(c). Plaintiffs are also required to spend state monies on

 detaining unauthorized aliens. On information and belief, the Asylum IFR will require Plaintiff States

 to spend at least some money on healthcare, detention, and other services that would otherwise not

 have to be spent.



                                                     11
Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 12 of 55 PageID #: 89



         38.      Defendants are officials of the United States government and United States govern-

 mental agencies responsible for promulgating or implementing the Asylum IFR.

         39.      Defendant Merrick Garland is Attorney General of the United States of America. He

 is sued in his official capacity.

         40.      Defendant Department of Justice (“DOJ”) is a federal cabinet department.

         41.      Defendant David Neal is the Acting Director of the Executive Office for Immigration

 Review. He is sued in his official capacity.

         42.      Defendant Executive Office for Immigration Review (“EOIR”) is an agency within

 DOJ.

         43.      Defendant Alejandro Mayorkas is the Secretary of Homeland Security and therefore

 the “head” of DHS with “direction, authority, and control over it.” 6 U.S.C. § 112(a)(2). Defendant

 Mayorkas is sued in his official capacity.

         44.      Defendant United States Department of Homeland Security (“DHS”) is a federal cab-

 inet department.

         45.      Defendant Chris Magnus serves as Commissioner of U.S. Customs and Border Pro-

 tection. He is sued in his official capacity.

         46.      Defendant U.S. Customs and Border Protection (“USBP”) is an agency within DHS

 that is headquartered in Washington, D.C.

         47.      Defendant Tae Johnson serves as Acting Director of U.S. Immigration and Customs

 Enforcement. He is sued in his official capacity.

         48.      Defendant U.S. Immigration and Customs Enforcement (“ICE”) is an agency within

 DHS that is headquartered in Washington, D.C.

         49.      Defendant Ur Jaddou serves as the Director for U.S. Citizenship and Immigration

 Services. She is sued in her official capacity.



                                                     12
Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 13 of 55 PageID #: 90



         50.      Defendant U.S. Citizenship and Immigration Services is an agency within DHS that is

 headquartered in Camp Springs, Maryland.

         51.      Defendant Raul Ortiz serves as the Chief of the U.S. Border Patrol. He is sued in his

 official capacity.

         52.      Defendant U.S. Border Patrol (“BP”) is an agency within DHS that is headquartered

 in Washington, D.C.

         53.      Defendant the United States of America is sued under 5 U.S.C. §§ 702–703 and 28

 U.S.C. § 1346 and includes the departments and agencies thereof.

                                    JURISDICTION AND VENUE
         54.      This Court has subject-matter jurisdiction over this case because it arises under the

 Constitution and laws of the United States. See 28 U.S.C. §§ 1331, 1346, 1361; 5 U.S.C. §§ 701-06.

         55.      An actual controversy exists between the parties within the meaning of 28 U.S.C.

 §§ 2201(a), and this Court may grant declaratory relief, injunctive relief, and other relief under 28

 U.S.C. §§ 2201-02, 5 U.S.C. §§ 705-06, 28 U.S.C. § 1361, and its inherent equitable powers.

         56.      Venue is proper in this Court under 28 U.S.C. § 1391(e)(1) because (1) Defendants are

 United States agencies or officers sued in their official capacities, (2) the State of Louisiana is a resident

 of this judicial district, (3) no real property is involved, and (4) a substantial part of the events or

 omissions giving rise to the Complaint occur within this judicial district. See Atlanta & F.R. Co. v. W.

 Ry. Co. of Ala., 50 F. 790, 791 (5th Cir. 1892); Ass’n of Cmty. Cancer Ctrs. v. Azar, 509 F. Supp. 3d 482

 (D. Md. 2020).

                              FACTUAL AND LEGAL BACKGROUND
         57.      States “bear[] many of the consequences of unlawful immigration.” Arizona v. United

 States, 567 U.S. 387, 397 (2012). They are, however, limited in their ability to “engage in” their own




                                                      13
Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 14 of 55 PageID #: 91



 immigration “enforcement activities.” Id. at 410. The States thus rely significantly on the federal gov-

 ernment to fulfill its duties under the immigration laws, particularly when Congress has created man-

 datory obligations or otherwise limited the federal government’s discretion.

         58.     Record numbers of aliens have entered the United States unlawfully since January 20,

 2021.

         59.     DHS’s own statistics show the dramatic increases in the number of crossings into the

 United States. Indeed, current levels of illegal crossings are at their highest levels in at least two dec-

 ades, and perhaps ever. The following is DHS’s own chart graphically showing these enormous in-

 creases in crossings:




                                                     14
Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 15 of 55 PageID #: 92




  Table 1: DHS Southwest Border Encounters By Month




  Source: https://www.cbp.gov/newsroom/stats/southwest-land-border-encounters



                                             15
Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 16 of 55 PageID #: 93




         60.     Furthermore, DHS sources have indicated that “there have been more than 300,000

 known ‘gotaways’—migrants who were not apprehended or turned themselves in and who got past

 agents—since fiscal year 2022 began on October 1st” through April 1.1 If that rate merely continues,

 the total number of gotaways for the fiscal year will be more than 600,000. For comparison, “former

 Border Patrol Chief Rodney Scott said there had been approximately 400,000 gotaways in the entirety

 of FY 2021.”2

         61.     Because the Asylum IFR makes it easier for aliens with non-meritorious asylum claims

 to be released in the United States, it will induce a significant increase of illegal immigration into the

 United States. Tens of thousands of these aliens will be released into the Plaintiff States in violation

 of federal statutes.

         62.     Another district court in this Circuit has found that reducing the likelihood that an

 alien will be released into the United States reduces the number of aliens who attempt to enter the

 United States illegally. Texas v. Biden, 554 F. Supp. 3d 818, 834, 847-48 (N.D. Tex. 2021); cf. Zadvydas

 v. Davis, 533 U.S. 678, 713 (2001) (Kennedy, J., dissenting) (“An alien ... has less incentive to cooperate

 or to facilitate expeditious removal when he has been released, even on a supervised basis, than does

 an alien held at an [ICE] detention facility.”)

         63.     Since 1982, the Supreme Court has mandated that States provide public education to

 school-age aliens not lawfully in the United States. Plyler v. Doe, 457 U.S. 202, 230 (1982). As a direct

 result of the influx of migrants that the Asylum IFR will cause, some of whom will be minors, the




 1
    Bill Melugin, 62,000+ illegal immigrants got past Border Patrol agents in March: sources, FOX NEWS (April
 1, 2022), https://fxn.ws/37fqLNq.
 2
   Id.


                                                     16
Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 17 of 55 PageID #: 94



 Plaintiff States will be compelled to spend additional moneys on education for these additional aliens.

 The Asylum IFR is thus a direct, but-for cause of these imminent injuries.

         64.       The presence of these aliens in each State violates each State’s quasi-sovereign interest

 in its territory and the welfare of its citizens.

         65.      The Asylum IFR will also cost the States millions, as explained in further detail below.

                                                     Arizona

         66.       As a border state, Arizona is acutely affected by modifications in federal policy re-

 garding immigration.

         67.      Defendant DHS has previously recognized that Arizona “is directly and concretely

 affected by changes to DHS rules and policies that have the effect of easing, relaxing, or limiting

 immigration enforcement. Such changes can negatively impact [Arizona’s] law enforcement needs and

 budgets, as well as its other important health, safety, and pecuniary interests of the State of Arizona.”

 Exhibit A, Memorandum of Understanding Between DHS and the State of Arizona at 2. DHS has

 also recognized that “rules, policies, procedures, and decisions that could result in significant increases

 to the number of people residing in a community” will “result in direct and concrete injuries to [Ari-

 zona], including increasing the rate of crime, consumption of public benefits and services, strain upon

 the healthcare system, and harm to the environment, as well as increased economic competition with

 the State of Arizona 's current residents for, among other things, employment, housing, goods and

 services.” Id. at 3.

         68.       Arizona is required to expend its scarce resources when DHS acts unlawfully to in-

 duce increased illegal immigration. This includes resources expended by Arizona’s law enforcement

 community.




                                                       17
Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 18 of 55 PageID #: 95



         69.      Arizona bears substantial costs of incarcerating unauthorized aliens, which amounts

 to tens of millions of dollars each year, as reflected by Arizona’s State Criminal Alien Assistance Pro-

 gram (SCAAP) requests, the great majority of which are not reimbursed by the federal government.

         70.      Arizona has approximately 275,000 to 365,000 immigrants living in the State who are

 not lawfully in the United States. About 54% of them do not have health insurance, about 32% of

 them have incomes below the poverty level, and they cost Arizona taxpayers more than $1.7 billion a

 year.3 More illegal aliens entering the State will increase the costs of the State’s healthcare system.

         71.      Drug cartels use human trafficking routes to also traffic illegal drugs into the United

 States. Increased illegal immigration means increased quantities of illegal drugs. For example, drug

 cartels coordinate surges of unauthorized immigrants who cross the border in large groups and then

 make non-meritorious asylum claims. This serves as a distraction to Border Patrol personnel. While

 all available Border Patrol personnel are busy processing these aliens’ asylum claims, they are unable

 to patrol the border, which allows drug mules to enter the United States unimpeded. Individuals be-

 lieved to be cartel drug smugglers are regularly caught on camera crossing the border, dressed in cam-

 ouflage and carrying weapons to protect their drug loads.4 Cartel scouts appear to even brazenly “oc-

 cupy strategically-selected hilltops for dozens of miles inside Arizona,” establishing a presence on

 American territory to track Border Patrol movements and coordinate surges of aliens entering the


 3
    The number of unauthorized aliens is notoriously difficult to calculate. Several studies, however,
 estimate the number of unauthorized aliens in Arizona to be in this approximate range. See, e.g., Un-
 authorized Immigrant Population Profiles, Migration Policy Institute, https://www.migrationpol-
 icy.org/data/unauthorized-immigrant-population/state/AZ (273,000, 54% uninsured); U.S. unau-
 thorized immigrant population estimates by state, Pew Research Center (2016), https://www.pewre-
 search.org/hispanic/interactives/u-s-unauthorized-immigrants-by-state/ (275,000); The Fiscal Bur-
 den of Illegal Immigration, Federation for American Immigration Reform (2017),
 http://fairus.org/sites/default/files/2017-09/Fiscal-Burden-of-Illegal-Immigration-2017.pdf
 (365,000, $1.7 billion annual cost).
 4
    Brian Brennan, ‘People don’t need to die’: Border rancher deals with constant flow of migrants, drug packers,
 KGUN 9 (May 20, 2019), https://www.kgun9.com/border-watch/people-dont-need-to-die-border-
 rancher-deals-with-constant-flow-of-migrants-drug-packers


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Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 19 of 55 PageID #: 96



 United States.5 Even the drugs themselves are becoming more dangerous, as smugglers are trading

 large bags of marijuana for smaller packs of more potent “cocaine, fentanyl, heroin, [and] meth.”6 In

 December 2021, police in Scottsdale, Arizona seized 1.7 million fentanyl pills that were worth $9

 million; they also seized ten kilograms of powdered fentanyl and one pound of methamphetamine.7

 The seized drugs were from the Sinaloa Cartel.8 According to the DEA, “[t]he Sinaloa Cartel primarily

 uses trafficking routes that go through Arizona,”9 and the Phoenix area is a major cartel drug trans-

 shipment hub.10

                                                  Louisiana

         72.      Plaintiff Louisiana will also be injured gravely by the Asylum IFR. Louisiana will be

 required to stretch its resources even further under the Asylum IFR, because the IFR will cause an

 influx of aliens at the border, causing Defendants to release hundreds of thousands of aliens into the

 United States monthly and similarly increasing the number of aliens Defendants fail to apprehend

 initially. The Asylum IFR will create increased crime and drug trafficking in Louisiana’s communities,




 5
    U.S. House of Representatives, Committee on Homeland Security, Testimony of Jim Chilton on “Ex-
 amining the Effect of Border Wall on Private and Tribal Landowners”, (February 27, 2020), https://home-
 land.house.gov/imo/media/doc/Testimony%20-%20Chilton1.pdf
 6
    Natasha Yee, As marijuana profits fade, cartels increasingly smuggle fentanyl across the border, (October 18,
 2021),         https://gilaherald.com/as-marijuana-profits-fade-cartels-increasingly-smuggle-fentanyl-
 across-the-border/
 7
    Steven Hernandez, Scottsdale police, DEA seize record 1.7 million fentanyl pills in Arizona, Arizona Repub-
 lic,     (Dec.       16,     2021),       https://www.azcentral.com/story/news/local/phoenix-break-
 ing/2021/12/16/authorities-arizona-seize-9-million-fentanyl-pills-narcotics/8929613002/
 8
    Id.
 9
    Id.
 10
      Alex Gallagher, Record fentanyl seizure by Scottsdale cops, DEA, Scottsdale Progress, (Dec. 19, 2021),
 https://www.scottsdale.org/news/record-fentanyl-seizure-by-scottsdale-cops-dea/article_fbf7c02e-
 6074-11ec-91ab-b35932ed58da.html


                                                       19
Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 20 of 55 PageID #: 97



 requiring additional expenditure by law enforcement. In addition, by incentivizing further illegal im-

 migration, the Asylum IFR will force Louisiana to expend limited resources on education, healthcare,

 public assistance, and general government services.

         73.     Defendant DHS has previously recognized that Louisiana “is directly and concretely

 affected by changes to DHS rules and policies that have the effect of easing, relaxing, or limiting

 immigration enforcement. Such changes can negatively impact [Louisiana’s] law enforcement needs

 and budgets, as well as its other important health, safety, and pecuniary interests of the State of Ari-

 zona.” Exhibit B, Memorandum of Understanding Between DHS and the Louisiana Department of

 Justice at 2. DHS has also recognized that “rules, policies, procedures, and decisions that could result

 in significant increases to the number of people residing in a community” will “result in direct and

 concrete injuries to [Louisiana], including increasing the rate of crime, consumption of public benefits

 and services, strain upon the healthcare system, and harm to the environment, as well as increased

 economic competition with the State of Louisiana's current residents for, among other things, em-

 ployment, housing, goods and services.” Id. at 3.

         74.     Louisiana has approximately 70,000 to 78,000 aliens living in the State who are not

 lawfully in the United States. More than 70% of them do not have health insurance, about 34% of

 them have incomes below the poverty level, and they cost Louisiana taxpayers more than $362 million

 a year.11 More illegal aliens entering the State will increase the costs of the State’s healthcare system.




 11
    See, e.g., Unauthorized Immigrant Population Profiles, Migration Policy Institute, https://www.mi-
 grationpolicy.org/data/unauthorized-immigrant-population/state/LA (70,000, 73% uninsured, 34%
 poverty level); U.S. unauthorized immigrant population estimates by state, Pew Research Center
 (2016), https://www.pewresearch.org/hispanic/interactives/u-s-unauthorized-immigrants-by-state/
 (70,000); The Fiscal Burden of Illegal Immigration, Federation for American Immigration Reform
 (2017), http://fairus.org/sites/default/files/2017-09/Fiscal-Burden-of-Illegal-Immigration-2017.pdf
 (78,820, $362 million annual cost).


                                                     20
Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 21 of 55 PageID #: 98



         75.     DHS operates multiple alien detention facilities in the Western District of Louisiana,

 including the Pine Prairie ICE Processing Center in Pine Prairie, Louisiana, and others in Oberlin,

 Plain Dealing, Jonesboro, Jena, Natchitoches, Monroe, Ferriday, Basile, and Winnfield, Louisiana.

 DHS releases illegal aliens from those detention facilities to Louisiana cities throughout the Western

 District, including Lafayette, Monroe, and Shreveport. Releases in Lafayette are so common that a

 California business advertises “immigration bail bonds in Lafayette” and urges illegal immigrants and

 their families to “contact our Lafayette bail bondsmen” “if you have a family member who finds him

 or herself in custody of [DHS].” Upon information and belief, DHS “paroles” many illegal immigrants

 into Louisiana cities without even the minimal security of a bond. The Asylum IFR will increase the

 use of DHS detention facilities and lead to the increased release of aliens into the Western District

 and throughout the State.

                                                 Missouri

         76.     Missouri is directly and adversely affected by increases in illegal immigration at the

 southern border, including increased admissions of asylum applicants. Based on recent statistics, ap-

 proximately 56 out of every 1,000 unlawful aliens who enter the United States end up residing in

 Missouri. These unlawful aliens impose pocketbook injuries on Missouri in the form of education,

 healthcare, and criminal-justice costs. These pocketbook injuries are irreparable because Missouri has

 no plausible recourse to recoup them.

         77.     “Missouri likewise faces a cost of verifying lawful immigration status for each addi-

 tional customer seeking a Missouri driver’s license.” Texas v. Biden, No. 2:21-cv-67, 2021 WL 3603341,

 at *10 (N.D. Tex. Aug. 13, 2021).

         78.     The total costs to … Missouri … of providing public education for illegal alien chil-

 dren will rise in the future as the number of illegal alien children present in the State increases.” Id.




                                                     21
Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 22 of 55 PageID #: 99



         79.     “Some aliens who … are being released or paroled into the United States and will use

 state-funded healthcare services or benefits in … Missouri.” Id. “The total costs to the State will in-

 crease as the number of aliens within the state increases.” Id.

         80.     Missouri is also a destination state and hub for human-trafficking crimes within the

 United States, due to its situation at the confluence of several major interstate highways. Such crimes

 disproportionately afflict illegal aliens, and these crimes (and other crimes committed by illegal aliens)

 impose irreparable law-enforcement and criminal-justice costs on Missouri. As another district court

 recently found, “[s]ome aliens who … are being released or paroled into the United States and will

 commit crimes in … Missouri,” and “Missouri is … a destination and transit State for human traffick-

 ing of migrants from Central America who have crossed the border illegally.” Id. Both crimes com-

 mitted by unlawful aliens, and human-trafficking crimes committed by and against unlawful aliens,

 inflict irreparable costs on Missouri, both in law-enforcement costs and providing resources for vic-

 tims. “Human trafficking” arising from and involving increases in unlawful immigration “causes fiscal

 harm to … Missouri.” Id.

         81.     An increased influx of illegal aliens, including an increased influx of asylum applicants,

 also affects the labor market and reduces job opportunities for U.S. citizens and lawfully present aliens

 in Missouri, as illegal aliens frequently compete for jobs at lower wages than workers who are lawfully

 present. Missouri is a State with large agricultural sector. The presence of large numbers of unlawful

 aliens distorts Missouri’s job markets and inflicts irreparable injury on both the State and its citizens.

                                                 Arkansas

         82.     Plaintiff Arkansas is also injured by the Asylum IFR. Arkansas will be required to

 stretch its scarce resources even further under the Asylum IFR, because the IFR will cause an influx

 of aliens at the border, causing Defendants to release hundreds of thousands of aliens into the United

 States monthly and similarly increasing the number of aliens Defendants fail to apprehend initially.



                                                     22
Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 23 of 55 PageID #: 100



  The Asylum IFR will create increased crime and drug trafficking in Arkansas’s communities, requiring

  additional expenditure by law enforcement. In addition, by incentivizing further illegal immigration,

  the Asylum IFR will force Arkansas to expend limited resources on education, healthcare, public as-

  sistance, and general government services.

          83.     Arkansas has approximately 58,000 to 79,000 illegal aliens living in the State; about

  63% of them are uninsured; about 30% of them have incomes below the poverty line; and they cost

  Arkansas taxpayers more than $339.5 million a year.12 If more illegal aliens enter the State, that will

  increase the costs of the State’s healthcare system.

                                                  Florida

          84.     Plaintiff State of Florida is injured by the Asylum IFR. The increase in unlawful mi-

  gration caused by the IFR will result in more illegal drugs flowing into Florida and more unvetted

  migrants—many of whom commit crimes—in Florida’s communities. These effects cost Florida mil-

  lions in law enforcement resources, incarceration costs, and victim’s services. For example, Florida

  spends over $100 million per year incarcerating aliens who commit crimes within its borders. On top

  of that, Florida provides a variety of public benefits regardless of immigration status. E.g., 42 U.S.C.

  § 1395dd (requiring that participating Medicaid facilities provide emergency services to immigrants

  regardless of status); § 443.101(7), Fla. Stat. (providing unemployment benefits for certain aliens).




  12
     See, e.g., Unauthorized Immigrant Population Profiles, Migration Policy Institute, https://www.mi-
  grationpolicy.org/data/unauthorized-immigrant-population/state/AR (58,000, 63% uninsured, 30%
  below poverty level); U.S. unauthorized immigrant population estimates by state, Pew Research Center
  (2016), https://www.pewresearch.org/hispanic/interactives/u-s-unauthorized-immigrants-by-state/
  (55,000); The Fiscal Burden of Illegal Immigration, Federation for American Immigration Reform
  (2017), http://fairus.org/sites/default/files/2017-09/Fiscal-Burden-of-Illegal-Immigration-2017.pdf
  (78,820, $339.5 million annual cost).


                                                     23
Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 24 of 55 PageID #: 101



          85.       Illegal migration aside, individuals who are granted asylum are eligible for certain ben-

  efits under Florida law, and an increase in asylum grants will increase those costs. E.g., § 322.051, Fla.

  Stat. (driver’s licenses), id. § 414.095 (temporary cash assistance); id. (Medicaid benefits).

          86.       According to some estimates, Florida currently has approximately 772,000 to 957,000

  illegal aliens living in the State, costing Florida taxpayers more than $4.7 billion a year.13[fn]. The IFR

  will make these costs worse.

                                                   Georgia

          87.       Plaintiff State of Georgia is directly and adversely affected by any changes to federal

  immigration policy. When illegal immigration increases, Georgia must redirect its scarce resources.

  The Asylum IFR will cause an influx of aliens at the border, causing Defendants to release hundreds

  of thousands of aliens into the United States monthly and similarly increasing the number of aliens

  Defendants fail to apprehend initially. Illegal aliens in Georgia receive numerous state services, includ-

  ing healthcare, education, drivers-license, and criminal justice-related costs, among others. Ending the

  Title 42 policy would injure Georgia by increasing the number of illegal aliens receiving these services

  at its expense.

          88.       For instance, Georgia has approximately 339,000 to 422,000 aliens living unlawfully in

  the State; about 70% of them are uninsured; about 36% of them have incomes below the poverty




  13
     See, e.g., Unauthorized Immigrant Population Profiles, Migration Policy Institute,
  https://www.migrationpolicy.org/data/unauthorized-immigrant-population/state/FL (estimating
  772,000 in Florida); U.S. unauthorized immigrant population estimates by state, Pew Research Cen-
  ter (2016), https://www.pewresearch.org/hispanic/interactives/u-s-unauthorizedimmigrants-by-
  state/ (estimating 775,000 in Florida); The Fiscal Burden of Illegal Immigration, Federation for
  American Immigration Reform (2017), http://fairus.org/sites/default/files/2017-09/Fiscal-Burden-
  of-Illegal-Immigration-2017.pdf (estimating 957,100 in Florida, with a $4.7 billion annual cost).


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Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 25 of 55 PageID #: 102



  level; and they cost Georgia taxpayers more than $1.8 billion a year.14 If more illegal aliens enter the

  State, that will increase the costs of the State’s healthcare system.

          89.     The Asylum IFR will also increase crime and criminal justice expenses in Georgia. In

  fiscal year 2020, which ended September 2020, ICE’s Atlanta Office removed 9,137 aliens, of which

  5,889 were convicted criminals and 1,111 had pending criminal charges.15 If additional illegal aliens

  migrate to Georgia, some will commit crimes. That will impose irreparable law-enforcement and crim-

  inal-justice costs on Georgia.

                                                    Idaho

          90.     Plaintiff Idaho is also injured by the Asylum IFR. Idaho will be required to stretch its

  scarce resources even further under the Asylum IFR, because the IFR will cause an influx of aliens at

  the border, causing Defendants to release hundreds of thousands of aliens into the United States

  monthly and similarly increasing the number of aliens Defendants fail to apprehend initially. The Asy-

  lum IFR will create increased crime and drug trafficking in Idaho’s communities, requiring additional

  expenditure by law enforcement. In addition, by incentivizing further illegal immigration, the Asylum

  IFR will force Idaho to expend limited resources on education, healthcare, public assistance, and gen-

  eral government services.

          91.     Idaho has approximately 29,000 to 51,000 illegal aliens living in the State; about 60%

  of them are uninsured; about 27% of them have incomes below the poverty line; and they cost Idaho



  14
     See, e.g., Unauthorized Immigrant Population Profiles, Migration Policy Institute, https://www.mi-
  grationpolicy.org/data/unauthorized-immigrant-population/state/GA (339,000, 70% uninsured,
  36% below poverty level); U.S. unauthorized immigrant population estimates by state, Pew Research
  Center (2016), https://www.pewresearch.org/hispanic/interactives/u-s-unauthorized-immigrants-
  by-state/ (400,000); The Fiscal Burden of Illegal Immigration, Federation for American Immigration
  Reform (2017), http://fairus.org/sites/default/files/2017-09/Fiscal-Burden-of-Illegal-Immigration-
  2017.pdf (422,250, $1.8 billion annual cost).
  15
     Local Statistics, ERO FY 2020 Report, U.S. Immigration & Customs Enforcement (Oct. 2021),
  https://www.ice.gov/doclib/news/library/reports/annual-report/ero-fy20-localstatistics.pdf


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Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 26 of 55 PageID #: 103



  taxpayers more than $225.4 million a year.16 If more illegal aliens enter the State, that will increase the

  costs of the State’s healthcare system.

                                                   Kansas

          92.     Plaintiff Kansas is also injured by the Asylum IFR. Kansas will be required to stretch

  its scarce resources even further under the Asylum IFR, because the IFR will cause an influx of aliens

  at the border, causing Defendants to release hundreds of thousands of aliens into the United States

  monthly and similarly increasing the number of aliens Defendants fail to apprehend initially. The Asy-

  lum IFR will create increased crime and drug trafficking in Kansas communities, requiring additional

  expenditure by law enforcement. In addition, by incentivizing further illegal immigration, the Asylum

  IFR will force Kansas to expend limited resources on education, healthcare, public assistance, and

  general government services.

          93.     Kansas has approximately 69,000 to 85,000 illegal aliens living in the State; about 64%

  of them are uninsured; about 25% of them have incomes below the poverty line; and they cost Kansas

  taxpayers more than $377 million a year.17 If more illegal aliens enter the State, that will increase the

  costs of the State’s healthcare system.




  16
     See, e.g., Unauthorized Immigrant Population Profiles, Migration Policy Institute, https://www.mi-
  grationpolicy.org/data/unauthorized-immigrant-population/state/ID (29,000, 60% uninsured, 27%
  below poverty level); U.S. unauthorized immigrant population estimates by state, Pew Research Center
  (2016), https://www.pewresearch.org/hispanic/interactives/u-s-unauthorized-immigrants-by-state/
  (35,000); The Fiscal Burden of Illegal Immigration, Federation for American Immigration Reform
  (2017), http://fairus.org/sites/default/files/2017-09/Fiscal-Burden-of-Illegal-Immigration-2017.pdf
  (50,670, $225.4 million annual cost).
  17
     See, e.g., Unauthorized Immigrant Population Profiles, Migration Policy Institute, https://www.mi-
  grationpolicy.org/data/unauthorized-immigrant-population/state/KS (69,000, 64% uninsured, 25%
  below poverty level); U.S. unauthorized immigrant population estimates by state, Pew Research Center
  (2016), https://www.pewresearch.org/hispanic/interactives/u-s-unauthorized-immigrants-by-state/
  (75,000); The Fiscal Burden of Illegal Immigration, Federation for American Immigration Reform
  (2017), http://fairus.org/sites/default/files/2017-09/Fiscal-Burden-of-Illegal-Immigration-2017.pdf
  (84,450, $377 million annual cost).


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Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 27 of 55 PageID #: 104



                                                 Kentucky

          94.     Plaintiff Kentucky is also injured by the Asylum IFR. Kentucky will be required to

  stretch its scarce resources even further under the Asylum IFR, because the IFR will cause an influx

  of aliens at the border, causing Defendants to release hundreds of thousands of aliens into the United

  States monthly and similarly increasing the number of aliens Defendants fail to apprehend initially.

  The Asylum IFR will create increased crime and drug trafficking in Kentucky’s communities, requiring

  additional expenditure by law enforcement. In addition, by incentivizing further illegal immigration,

  the Asylum IFR will force Kentucky to expend limited resources on education, healthcare, public

  assistance, and general government services.

          95.     Kentucky has approximately 35,000 to 56,000 illegal aliens living in the State; about

  60% of them are uninsured; about 37% of them have incomes below the poverty level; and they cost

  Kentucky taxpayers more than $261 million a year.18 If more illegal aliens enter the State, that will

  increase the costs of the State’s healthcare system.

                                                 Mississippi

          96.     Plaintiff Mississippi is also injured by the Asylum IFR. Mississippi will be required to

  stretch its scarce resources even further under the Asylum IFR, because the IFR will cause an influx

  of aliens at the border no longer subject to expulsion, causing Defendants to release hundreds of

  thousands of aliens into the United States monthly and similarly increasing the number of aliens De-

  fendants fail to apprehend initially. The Asylum IFR will create increased crime and drug trafficking




  18
     See, e.g., Unauthorized Immigrant Population Profiles, Migration Policy Institute, https://www.mi-
  grationpolicy.org/data/unauthorized-immigrant-population/state/KY (46,000, 60% uninsured, 37%
  below poverty level); U.S. unauthorized immigrant population estimates by state, Pew Research Center
  (2016), https://www.pewresearch.org/hispanic/interactives/u-s-unauthorized-immigrants-by-state/
  (35,000); The Fiscal Burden of Illegal Immigration, Federation for American Immigration Reform
  (2017), http://fairus.org/sites/default/files/2017-09/Fiscal-Burden-of-Illegal-Immigration-2017.pdf
  (56,300, $261 million annual cost).


                                                     27
Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 28 of 55 PageID #: 105



  in Mississippi’s communities, requiring additional expenditure by law enforcement. In addition, by

  incentivizing further illegal immigration, the Asylum IFR will force Mississippi to expend limited re-

  sources on education, healthcare, public assistance, and general government services.

          97.     Mississippi has approximately 20,000 to 28,150 illegal aliens living in the State; about

  75% of them are uninsured; about 49% of them have incomes below the poverty level; and they cost

  Mississippi taxpayers more than $117 million a year.19 If more illegal aliens enter the State, that will

  increase the costs of the State’s healthcare system.

                                                 Montana

          98.     Plaintiff Montana is also injured by the Asylum IFR. Montana will be required to

  stretch its scarce resources even further under the Asylum IFR, because the IFR will cause an influx

  of aliens at the border, causing Defendants to release hundreds of thousands of aliens into the United

  States monthly and similarly increasing the number of aliens Defendants fail to apprehend initially.

  The Asylum IFR will create increased crime and drug trafficking in Montana communities, requiring

  additional expenditure by law enforcement. In addition, by incentivizing further illegal immigration,

  the Asylum IFR will force Montana to expend limited resources on education, healthcare, public as-

  sistance, and general government services.




  19
     See, e.g., Unauthorized Immigrant Population Profiles, Migration Policy Institute,
  https://www.mi-grationpolicy.org/programs/us-immigration-policy-program-data-hub/unauthor-
  ized-immigrant-population-profiles#MS (25,000, 75% uninsured, 49% below poverty level); U.S.
  Unauthorized immigrant population estimates by state, Pew Research Center (2016),
  https://www.pewre-search.org/hispanic/interactives/u-s-unauthorized-immigrants-by-state/
  (20,000); The Fiscal Burden of Illegal Immigration, Federation for American Immigration Reform
  (2017), https://www.fairus.org/sites/default/files/2017-09/Fiscal-Burden-of-Illegal-Immigration-
  2017.pdf (28,150, $117 million annual cost).


                                                     28
Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 29 of 55 PageID #: 106



          99.     Montana has approximately 3,000 to 6,000 illegal aliens living in the State, and they

  cost Montana taxpayers more than $27 million a year.20 If more illegal aliens enter the State, that will

  increase the costs of the State’s healthcare system.

                                                 Nebraska

          100.    Plaintiff Nebraska is also injured by the Termination Order. Nebraska will be required

  to stretch its scarce resources even further under the Asylum IFR, because the IFR will cause an influx

  of aliens at the border, causing Defendants to release hundreds of thousands of aliens into the United

  States monthly and similarly increasing the number of aliens Defendants fail to apprehend initially.

  The Asylum IFR will create increased crime and drug trafficking in Nebraska communities, requiring

  additional expenditure by law enforcement. In addition, by incentivizing further illegal immigration,

  the Asylum IFR will force Nebraska to expend limited resources on education, healthcare, public

  assistance, and general government services.

          101.    Nebraska has approximately 42,000 to 60,000 illegal aliens living in the State; about

  56% of them are uninsured; about 30% of them have incomes below the poverty line; and they cost

  Nebraska taxpayers more than $233.1 million a year.21 If more illegal aliens enter the State, that will

  increase the costs of the State’s healthcare system.


  20
     See, e.g., Unauthorized Immigrant Population Profiles, Migration Policy Institute, https://www.mi-
  grationpolicy.org/programs/us-immigration-policy-program-data-hub/unauthorized-immigrant-
  population-profiles#MT (3,000); U.S. unauthorized immigrant population estimates by state, Pew Re-
  search Center (2016), https://www.pewresearch.org/hispanic/interactives/u-s-unauthorized-immi-
  grants-by-state/ (<5,000); The Fiscal Burden of Illegal Immigration, Federation for American Immi-
  gration Reform (2017), http://fairus.org/sites/default/files/2017-09/Fiscal-Burden-of-Illegal-Immi-
  gration-2017.pdf (<6,000, $27 million annual cost).
  21
     See, e.g., Unauthorized Immigrant Population Profiles, Migration Policy Institute, https://www.mi-
  grationpolicy.org/data/unauthorized-immigrant-population/state/NE (42,000, 56% uninsured, 30%
  below poverty level); U.S. unauthorized immigrant population estimates by state, Pew Research Center
  (2016), https://www.pewresearch.org/hispanic/interactives/u-s-unauthorized-immigrants-by-state/
  (60,000); The Fiscal Burden of Illegal Immigration, Federation for American Immigration Reform
  (2017), http://fairus.org/sites/default/files/2017-09/Fiscal-Burden-of-Illegal-Immigration-2017.pdf
  (50,670, $233.1 million annual cost).


                                                     29
Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 30 of 55 PageID #: 107



                                                Oklahoma

          102.    Plaintiff Oklahoma is also injured by the Asylum IFR. Oklahoma will be required to

  stretch its scarce resources even further under the Asylum IFR, because the IFR will cause an influx

  of aliens at the border, causing Defendants to release hundreds of thousands of aliens into the United

  States monthly and similarly increasing the number of aliens Defendants fail to apprehend initially.

  The Asylum IFR will create increased crime and drug trafficking in Oklahoma’s communities, requir-

  ing additional expenditure by law enforcement. In addition, by incentivizing further illegal immigra-

  tion, the Asylum IFR will force Oklahoma to expend limited resources on education, healthcare, pub-

  lic assistance, and general government services.

          103.    Oklahoma has approximately 90,000 to 107,000 illegal aliens living in the State; about

  68% of them are uninsured; about 27% of them have incomes below the poverty line; and they cost

  Oklahoma taxpayers more than $467 million a year.22 If more illegal aliens enter the State, that will

  increase the costs of the State’s healthcare system.

                                              South Carolina

          104.    Plaintiff South Carolina is also injured by the Asylum IFR. South Carolina will be re-

  quired to stretch its scarce resources even further under the Asylum IFR, because the IFR will cause

  an influx of aliens at the border, causing Defendants to release hundreds of thousands of aliens into

  the United States monthly and similarly increasing the number of aliens Defendants fail to apprehend




  22
     See, e.g., Unauthorized Immigrant Population Profiles, Migration Policy Institute, https://www.mi-
  grationpolicy.org/data/unauthorized-immigrant-population/state/OK (90,000, 68% uninsured, 27%
  below poverty level); U.S. unauthorized immigrant population estimates by state, Pew Research Center
  (2016), https://www.pewresearch.org/hispanic/interactives/u-s-unauthorized-immigrants-by-state/
  (85,000); The Fiscal Burden of Illegal Immigration, Federation for American Immigration Reform
  (2017), http://fairus.org/sites/default/files/2017-09/Fiscal-Burden-of-Illegal-Immigration-2017.pdf
  (106,970, $467 million annual cost).


                                                     30
Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 31 of 55 PageID #: 108



  initially. The Asylum IFR will create increased crime and drug trafficking in South Carolina’s commu-

  nities, requiring additional expenditure by law enforcement. In addition, by incentivizing further illegal

  immigration, the Asylum IFR will force South Carolina to expend limited resources on education,

  healthcare, public assistance, and general government services.

          105.    South Carolina has approximately 88,000 to 98,000 illegal aliens living in the State;

  about 69% of them are uninsured; about 33% of them have incomes below the poverty line; and they

  cost South Carolina taxpayers more than $471 million a year.23 If more illegal aliens enter the State,

  that will increase the costs of the State’s healthcare system.

                                                All Plaintiffs

          106.    The Asylum IFR will result in tens or hundreds of thousands of aliens unlawfully en-

  tering the United States, who would otherwise not be able to gain entry. This, in turn, will cause

  Plaintiff States to spend money on healthcare, detention, education, and other services for aliens that

  would otherwise not have to be spent.

          107.    For example, the States are required to spend state monies on Emergency Medicaid,

  including for unauthorized aliens. 42 C.F.R. § 440.255(c). Plaintiff States’ emergency medical providers

  deliver millions of dollars in medical services to illegal aliens each year. These costs are not fully reim-

  bursed by the federal government or the aliens themselves. While these costs are significant in typical

  years, the COVID-19 pandemic makes the potential for harm to Plaintiff States through additional

  emergency healthcare costs to unauthorized aliens exceptionally high. The Asylum IFR necessarily




  23
     See, e.g., Unauthorized Immigrant Population Profiles, Migration Policy Institute, https://www.mi-
  grationpolicy.org/data/unauthorized-immigrant-population/state/SC (88,000, 69% uninsured, 33%
  below poverty level); U.S. unauthorized immigrant population estimates by state, Pew Research Center
  (2016), https://www.pewresearch.org/hispanic/interactives/u-s-unauthorized-immigrants-by-state/
  (85,000); The Fiscal Burden of Illegal Immigration, Federation for American Immigration Reform
  (2017), http://fairus.org/sites/default/files/2017-09/Fiscal-Burden-of-Illegal-Immigration-2017.pdf
  (95,710, $471 million annual cost).


                                                      31
Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 32 of 55 PageID #: 109



  increases the number of aliens in the States who are subject to receiving such medical care at the

  expense of Plaintiff States’ healthcare institutions.

          108.     By ignoring the requirements of the INA, HSA, and Secure Fence Act of 2006, and

  thus facilitating the entry of unauthorized aliens into the United States, the Asylum IFR encourages a

  greater influx of unauthorized aliens into Plaintiff States. This further increases law enforcement costs

  in Plaintiff States, including costs related to coordinated activity between federal and state law en-

  forcement agencies in the pursuit of suspected unauthorized aliens.

          109.     The Asylum IFR will allow a far greater number of aliens with meritless asylum claims

  to enter the United States. Such aliens rarely leave the United States of their own accord, and Defend-

  ants rarely remove such aliens, even after their asylum claims have been denied. The Asylum IFR will

  therefore increase Plaintiff States’ costs of providing emergency medical care to these individuals who

  would otherwise never have been allowed into the United States. Additionally, the Asylum IFR en-

  courages a greater influx of unauthorized aliens into Plaintiff States, further increasing the population

  of unauthorized aliens for whom Plaintiff States must bear the cost of emergency medical care, edu-

  cation, and other social services.

          110.     The Asylum IFR will increase illegal immigration into the United States. Some of the

  additional illegal aliens will migrate into each of the Plaintiff States, and some of those aliens will

  commit crimes in each of the Plaintiff States. The increased number of illegal aliens in the Plaintiff

  States will thus also increase crime and criminal justice expenses in Plaintiff States, thus injuring the

  States through increased law enforcement, incarceration, and crime-prevention costs. The increased

  crime will also injure the citizens of Plaintiff States.

          111.     In addition, Defendants will be unable to adequately screen, mitigate, and treat for

  communicable diseases—of all types—when illegal border crossings (including crossings of “covered




                                                       32
Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 33 of 55 PageID #: 110



  aliens”) reach the elevated levels induced by the Asylum IFR. This presents a serious threat to the

  public health of Plaintiff States.

                                          CLAIMS FOR RELIEF

                                             COUNT I
                       Administrative Procedure Act, 5 U.S.C. § 706(2)(A), (C)
                         Rule in Excess of Defendants’ Statutory Authority
                                       (Asylum Adjudication)
          112.    Plaintiff States repeat and incorporate by reference all the Complaint’s allegations

  stated above.

          113.    Under the APA, a court must “hold unlawful and set aside agency action” that is “not

  in accordance with law” or is “in excess of statutory . . . authority[] or limitations, or short of statutory

  right.” 5 U.S.C. § 706(2)(A), (C).

          114.    The Asylum IFR is in excess of Defendants’ statutory authority because the INA and

  HSA do not authorize asylum officers to adjudicate the asylum claims at issue.

          115.    Congress codified into law this regulatory separation of authority when it passed the

  HSA. Specifically, Section 451(b) of the HSA enumerated specific functions that were transferred

  from INS to USCIS, empowering USCIS only to perform those “adjudications performed by the INS

  immediately before those authorities were transferred from DOJ to DHS.” Thus, the HSA conferred

  on AOs within USCIS only the authority to adjudicate those types of asylum claims that they adjudi-

  cated on the effective date of the HSA, which was March 1, 2003.

          116.    Furthermore, the HSA amended the INA to expressly state that the EOIR would con-

  tinue to have the same authority that it did before adoption of the HSA. See supra ¶8. When Congress

  passed the HSA, EOIR adjudicated applications for asylum, statutory withholding, and CAT by aliens

  who had been subject to expedited removal proceedings under section 235(b)(1). Thus Congress,

  through the HSA, plainly assigned those specific functions to the EOIR. If it had not, or if Congress

  had simply wanted to leave it up to DHS and DOJ to divvy up those functions at some point in the


                                                       33
Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 34 of 55 PageID #: 111



  future—as the Asylum IFR attempts to do more than 19 years after the fact—it would not have

  specified the exact dates that those functions were supposed to be assigned to vest (or continue to

  vest in the case of EOIR). Having set an end date for the assignment of those functions in the HSA,

  those functions are settled, and appropriately assigned to USCIS and EOIR and could be changed

  only through a legislative—not administrative—reassignment.

          117.    Congress has allowed for only one exception to the HSA’s assignment of asylum ad-

  judication to the EOIR. In the William Wilberforce Trafficking Victims Protection Reauthorization

  Act of 2008 (TVPRA), Congress created a narrow exception so that AOs would adjudicate asylum

  applications filed by unaccompanied alien children (UACs). 8 U.S.C. § 1225(b)(3)(C). Congress spe-

  cifically gave jurisdiction over asylum applications filed by UACs to AOs because Congress recognized

  that those AOs otherwise lacked the power to adjudicate such asylum applications filed by UACs.

          118.    Under the expressio unius canon, “[t]he expression of one thing implies the exclusion of

  others.” Jennings v. Rodriguez, 138 S.Ct. 830, 844 (2018). Thus, “[w]hen a statute limits a thing to be

  done in a particular mode, it includes a negative of any other mode.” Christensen v. Harris Cty., 529 U.S.

  576, 583 (2000) (cleaned up)); accord Silvers v. Sony Pictures Ent., Inc., 402 F.3d 881, 885 (9th Cir. 2005)

  (en banc). Congress determined that UACs should receive a specific AO carve-out, but it did not apply

  that exception to any other type of alien, let alone to all aliens in expedited removal proceedings under

  section 8 U.S.C. § 1225(b)(1). Under expressio unius, the enumeration of only a single exception to the

  HSA’s assignment of asylum adjudication to the EOIR means that only one such exception exists.

  The legislative history confirms this interpretation, as Congress explained in amending Section 1225

  that “further consideration of the application for asylum” meant “further consideration of the appli-

  cation for asylum under normal non-expedited removal proceedings.” H. Rep. No. 104–828 at

  209 (1996) (emphasis added).




                                                      34
Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 35 of 55 PageID #: 112



          119.    Furthermore, the INA itself prohibits the Asylum IFR, as it requires that “[u]nless

  otherwise specified in this chapter,” a removal “proceeding under [8 U.S.C. § 1229a] shall be the sole

  and exclusive procedure for determining whether an alien may be admitted to the United

  States.” 8 U.S.C. § 1229a(a)(3) (emphasis added). Congress explicitly established the procedure to be

  used for making asylum determinations. Defendants do not have the power to conjure out of thin air

  new procedures more to their liking.

          120.     The Asylum IFR therefore grossly exceeds Defendants’ statutory authority related to

  asylum and is therefore unlawful.

                                            COUNT II
                       Administrative Procedure Act, 5 U.S.C. § 706(2)(A), (C)
                         Rule in Excess of Defendants’ Statutory Authority
                                             (Parole)
          121.    Plaintiff States repeat and incorporate by reference all the Complaint’s allegations

  stated above.

          122.    Under the APA, a court must “hold unlawful and set aside agency action” that is “not

  in accordance with law” or is “in excess of statutory . . . authority[] or limitations, or short of statutory

  right.” 5 U.S.C. § 706(2)(A), (C).

          123.    The Asylum IFR exceeds Defendants’ statutory authority because the INA strictly

  limits Defendants’ exercise of the parole power. For example, the Asylum IFR incorrectly claims that

  Defendants have the statutory authority to parole aliens “where, in light of available detention re-

  sources, and considered on a case-by-case basis, detention of any particular [alien] would limit the

  agency’s ability to detain other noncitizens whose release may pose a greater risk of flight or danger

  to the community.” 87 Fed. Reg. at 18,108.

          124.    However, Congress has commanded the opposite: that such aliens “shall” be detained.

  Aliens who convince an asylum officer that the alien has a credible fear of persecution “shall be




                                                       35
Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 36 of 55 PageID #: 113



  detained for further consideration of the application for asylum.” 8 U.S.C.A. § 1225(b)(1)(B)(ii) (em-

  phasis added). Aliens who have failed to convince an asylum officer of their credible fear who seek

  review before an immigration judge “shall be detained pending a final determination.” 8 U.S.C.

  § 1225(b)(1)(B)(iii)(IV) (emphasis added). And for aliens who are “not clearly and beyond a doubt

  entitled to be admitted, the alien[s] shall be detained,” subject only to limited exceptions not appli-

  cable here (for crewmen and stowaways). 8 U.S.C. § 1225(b)(2)(A) (emphasis added). Against this

  backdrop of mandatory detention, Congress created a limited exception in 8 U.S.C. § 1182(d)(5)(A).

  That provision gives DHS the power to parole aliens into the United States, rather than detain them,

  but “only on a case-by-case basis for urgent humanitarian reasons or significant public benefit.” Id. (emphasis

  added).

            125.   In 1996 Congress “specifically narrowed the executive’s discretion under

  § 1182(d)(5)(A) to grant ‘parole into the United States’” precisely because of Congress’s “concern that

  parole under § 1182(d)(5)(A) was being used by the executive to circumvent congressionally estab-

  lished immigration policy.” Cruz-Miguel v. Holder, 650 F.3d 189, 199 & n.15 (2d Cir. 2011). Congress

  made crystal clear its intent that its 1996 amendment to the parole statute was a limit on the use of

  parole: the section heading in IIRIRA that makes this amendment is titled “LIMITATION ON USE

  OF PAROLE.” IIRIRA, Pub. L. No. 104–208, 110 Stat 3009, § 602 (1996) (emphasis added); see also

  Ram v. I.N.S., 243 F.3d 510, 514 n.3 (9th Cir. 2001) (section headings and titles “may be used to

  interpret its meaning”).

            126.   When Congress amended Section 1225(b) in 1996, it created a “de facto mandatory

  detention regime.” Tineo v. Ashcroft, 350 F.3d 382, 398 (3d Cir. 2003). The Third Circuit provided the

  following summary of the combined effect of Section 1225(b)’s mandatory detention rules and

  1182(d)(5)’s limits on parole: “§ [1225](b)(2) requires the INS to detain aliens ‘not clearly and beyond




                                                        36
Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 37 of 55 PageID #: 114



  a doubt entitled to be admitted’ and because of the limited grounds for parole in § [1182](d)(5)(A),

  in practice, these provisions often result in ... mandatory detention.” Id. at 387 (emphasis added).

          127.    The Asylum IFR’s determination that parole is justified when detention space is una-

  vailable constitutes an unlawful programmatic decision to parole aliens en masse into the United

  States. The Fifth Circuit has already held that such a practice is an unlawful violation of the INA’s

  requirement that grants of parole be granted on a strictly limited, case-by-case basis: “[d]eciding to

  parole aliens en masse is the opposite of [the] case-by-case decisionmaking” required by Section

  1182(d)(5)(A). Texas v. Biden, 20 F.4th 928, 942 (5th Cir. 2021) (emphasis in original).

          128.    Indeed, the Asylum IFR is part of a wider pattern from Defendants of unlawfully

  mass-granting parole on an unprecedented scale. For example, in President Trump’s last full month

  in office, the Border Patrol paroled 17 aliens caught at the border into the interior of the United States.

  The low number in December 2020 was not caused by COVID-19, as the number in January 2020

  was still only 76.24 One year later, in December 2021, President Biden’s Border Patrol paroled over

  51,00025—a mindboggling 300,882% increase. Since President Biden took office, the total number has

  grown to more than 366,000 aliens.26

          129.    Furthermore, § 1225(b)(2)(C) already provides an alternative to detention to the fed-

  eral government: to “return ... aliens” who “arriv[e] on land ... from a foreign territory contiguous to




  24
         See Custody and Transfer Statistics FY2020, U.S. Customs & Border Protection,
  https://www.cbp.gov/newsroom/stats/custody-and-transfer-statistics-fy-2020 (U.S. Border Patrol –
  Dispositions and Transfers tab). In addition, because the total number of releases reported here likely
  does not include releases by other DHS components, the total is probably even larger.
  25
     Defendant Customs and Border Protection reports these numbers on its website. Numbers for
  FY2022 are available at https://www.cbp.gov/newsroom/stats/custody-and-transfer-statistics, and
  numbers for FY2021 are available at https://www.cbp.gov/newsroom/stats/ custody-and-transfer-
  statistics-fy2021. The numbers were calculated using the “U.S. Border Patrol – Dispositions and
  Transfers” tab and combining the “Notice to Appear/Order of Recognizance” and “Parole + ATD”
  rows. (The “Parole + ATD” row is only used in FY2022.)
  26
     Id.


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Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 38 of 55 PageID #: 115



  the United States ... to that territory pending” immigration proceedings. In other words, when mi-

  grants arrive at the southern border and claim asylum, the federal government may—instead of de-

  taining them—require them to wait in Mexico while their claims are adjudicated. Congress did not

  confer on Defendants the discretion to refuse to detain aliens and instead parole them en masse into

  the United States. Rather, Congress provided the alternative of returning those aliens to Mexico. And

  the policy to do just that, the Migrant Protection Protocols, worked extraordinarily well—the Trump

  Administration needed to grant parole to only 17 aliens in December 2021. That Defendants refuse

  to use the only available statutory alternative to detention does not absolve them of their obligation

  to detain. Texas, 20 F.4th at 996 (Defendants simply “don’t want to do [the] one thing Congress al-

  lowed” as an alternative to detention).

         130.    Additionally, the Asylum IFR amends 8 C.F.R. § 212.5(b) to greatly expand the aliens

  to whom its parole criteria apply, from applying only to aliens in full removal proceedings under INA

  § 240 to applying also to aliens subject to expedited removal. This vast expansion of the 8 C.F.R. §

  212.5(b) constitutes an unlawful programmatic parole policy.

         131.    Finally, the NPRM contained a broad expansion of the parole power. After significant

  pushback from comments pointing out that such an expansion would be blatantly illegal, the Asylum

  IFR ostensibly gave up on that vast expansion, at least through regulation. Instead, Defendants tele-

  graphed their intent to effect the same vast expansion outside of the requirements of the APA. The

  Asylum IFR states that “DHS intends to use further directives and guidance to apply the parole stand-

  ard to [aliens] in expedited removal pending a credible fear interview.” 87 Fed. Reg. at 18,109. Issuing

  such “guidance” without notice-and-comment rulemaking is a violation of the APA, and the Asylum

  IFR’s reliance on such ambiguous future “guidance” makes it unlawful.

         132.    The Asylum IFR therefore grossly exceeds Defendants’ statutory authority as it relates

  to the parole authority and is therefore unlawful.



                                                       38
Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 39 of 55 PageID #: 116



                                            COUNT III
                        Administrative Procedure Act, 5 U.S.C. § 706(2)(A), (C)
                          Rule in Excess of Defendants’ Statutory Authority
                                         (Secure Fence Act)

          133.    Plaintiff States repeat and incorporate by reference each of the Complaint’s allegations

  stated above.

          134.    Under the APA, a court must “hold unlawful and set aside agency action” that is “not

  in accordance with law” or is “in excess of statutory . . . authority[] or limitations, or short of statutory

  right.” 5 U.S.C. § 706(2)(A), (C).

          135.    The Asylum IFR exceeds Defendants’ statutory authority because it violates the Secure

  Fence Act.

          136.    In 2006, Congress passed the Secure Fence Act, which requires the Secretary of Home-

  land Security to “take all actions the Secretary determines necessary and appropriate to achieve and

  maintain operational control over the entire international land and maritime borders of the United

  States.” Secure Fence Act of 2006, Pub. L. No. 109–367, 120 Stat 2638 (2006) (codified as 8 U.S.C. §

  1701 note). The bill specifically defines “operational control” to mean “the prevention of all unlawful

  entries into the United States, including entries by terrorists, other unlawful aliens, instruments of terror-

  ism, narcotics, and other contraband.” Id. (emphasis added).

          137.     The Secure Fence Act remains in force. It enjoyed bipartisan support in both houses

  of Congress, and passed in the Senate by a vote of 80 to 19. Indeed, among those voting for the bill

  was then-Senator Biden.27

          138.    The Asylum IFR violates the Secure Fence Act because, as discussed above, rather

  than preventing unlawful entries into the United States, it incentivizes them.

                                                 COUNT IV


  27
   https://www.senate.gov/legislative/LIS/roll_call_lists/roll_call_vote_cfm.cfm?con-
  gress=109&session=2&vote=00262#top


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Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 40 of 55 PageID #: 117



                       Administrative Procedure Act, 5 U.S.C. § 706(2)(A), (C)
                             Arbitrary and Capricious Agency Action
                                       (Asylum Procedures)
           139.   Plaintiff States repeat and incorporate by reference each of the Complaint’s allegations

  stated above.

           140.   Under the APA, a court must “hold unlawful and set aside agency action” that is arbi-

  trary or capricious or otherwise not in accordance with law or contrary to the Constitution. 5 U.S.C.

  § 706(2)(A).

           141.    “[A]gency action is lawful only if it rests on a consideration of the relevant factors”

  and “important aspects of the problem.” Michigan v. EPA, 576 U.S. 743, 750-52 (2015) (requiring

  “reasoned decisionmaking”). This means agencies must “examine all relevant factors and record evi-

  dence.” Am. Wild Horse Pres. Campaign v. Perdue, 873 F.3d 914, 923 (D.C. Cir. 2017).

           142.   For starters, an agency cannot “entirely fail[ ] to consider an important aspect of the

  problem.” Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983); see also Am.

  Wild Horse, 873 F.3d at 931 (“the Service’s Finding of No Significant Impact not only failed to take a

  ‘hard look’ at the consequences of the boundary change, it averted its eyes altogether”); Gresham v.

  Azar, 363 F. Supp. 3d 165, 177 (D.D.C. 2019) (“The bottom line: the Secretary did no more than

  acknowledge—in a conclusory manner, no less—that commenters forecast a loss in Medicaid cover-

  age”).

           143.   Further, agencies must actually analyze the relevant factors. “‘Stating that a factor was

  considered ... is not a substitute for considering it.’” State v. Biden, 10 F.4th 538, 556 (5th Cir. 2021).

  The agency must instead provide more than “conclusory statements” to prove it considered the rele-

  vant statutory factors. Encino Motorcars, LLC v. Navarro, 136 S. Ct. 2117, 2127 (2016).

           144.   The Asylum IFR is arbitrary and capricious for several independently sufficient rea-

  sons.



                                                      40
Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 41 of 55 PageID #: 118



          145.     First, Defendants failed to estimate or account for the costs to the States of the Asy-

  lum IFR, such as the increased health care costs for aliens infected with COVID-19 and the cost of

  increased illegal immigration caused by the Asylum IFR, and the presence of much greater numbers

  of paroled aliens with non-meritorious asylum claims who were induced to enter the United States

  because of the Asylum IFR.

          146.     Second, Defendants failed to consider or arbitrarily rejected obvious alternatives to the

  Asylum IFR, such as by hiring more Immigration Judges (“IJs”) and ICE attorneys, or by implement-

  ing in good faith the Migrant Protection Protocols (“MPP”) (and thus sending most aliens from third

  countries back to Mexico to await asylum decisions). See 87 Fed. Reg. at 18,115 (acknowledging com-

  ments proposing the hiring of IJs and more effective implementation of MPP, but cursorily rejecting

  them without analysis). They alternatively could implement measures to weed out and deter meritless

  claims, which would reduce the backlog.

          147.     Third, the Asylum IFR is arbitrary and capricious because the Defendants did not con-

  sider Plaintiffs States’ reliance interests in the continuation of the current asylum system. The govern-

  ment is obligated to “turn square corners in dealing with the people.” DHS v. Regents of the Univ. of Cal.,

  140 S. Ct. 1891, 1909 (2020). When an agency changes course, as DHS and DOJ have done here, they

  must “be cognizant that longstanding policies may have ‘engendered serious reliance interests that

  must be taken into account.’” Id. at 1913 (quoting Encino Motorcars, LLC v. Navarro, 136 S. Ct. 2117,

  2126 (2016). In fact, “[i]t would be arbitrary and capricious to ignore such matters.” Id. (quoting F.C.C.

  v. Fox Television Stations, Inc., 556 U.S. 502, 515 (2009)).

          148.     The Asylum IFR claims that the Defendants “perceive no serious reliance interests on

  the part of any State, county, or local governmental entity in the currently existing provisions.” 87 Fed.

  Reg. 18,109. But “‘Stating that a factor was considered ... is not a substitute for considering it.’” State,

  10 F.4th at 556. And Defendants’ cursory dismissal of the existence of any reliance interests misses



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Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 42 of 55 PageID #: 119



  the mark. Their analysis fails to account for the actual real-world effects of the current asylum system

  and how States might have legitimately relied on it.

           149.    Plaintiff States have overwhelming reliance interests in federal enforcement of immi-

  gration law. Specifically, the most of the Plaintiffs submitted a comment explaining that the Asylum

  IFR will incentivize additional illegal immigration and thus “affect[] State finances and resources, pub-

  lic safety, and public health during the midst of the COVID-19 global pandemic.” Comment Submit-

  ted by Louisiana and 15 other States, USCIS-2021-0012-4980 at 14 (Oct. 19, 2021), https://www.reg-

  ulations.gov/comment/USCIS-2021-0012-4980. Plaintiffs’ State budgets and resource allocations are

  determined in reliance on Defendants’ continued enforcement of immigration law. Defendants did

  not consider whether the States relied on continuation of the asylum system when Plaintiff States

  determined how they would marshal and distribute their resources to deal with the number of unau-

  thorized aliens entering their states. The Asylum IFR is arbitrary and capricious because it utterly

  ignores these reliance interests. See Regents of the Univ. of Cal., 140 S. Ct. at 1913-14.

           150.    Fourth, Defendants ignored statutory factors, and relied upon factors Congress did not

  direct it to consider, by completely failing to address the immigration consequences of the Asylum

  IFR. IIRIRA and the Secure Fence Act are designed to reduce crossings. Yet the IFR utterly ignores

  this aspect of the problem.

           151.    Fifth, Defendants failed to justify their deviation from prior practice. The APA pro-

  hibits Defendants from “whistl[ing] past [this] factual graveyard” to “evade[]” their “established pat-

  tern of agency conduct and formalized positions.” Am. Wild Horse Pres. Campaign, 873 F.3d at 923-27;

  see also Dillmon v. Nat’l Transp. Safety Bd., 588 F.3d 1085, 1089 (D.C. Cir. 2009) (APA requirements

  ensure that an agency’s “prior policies and standards are being deliberately changed, not casually ig-

  nored”). Yet Defendants fail to grapple with their prior actions and act as if their prior positions don’t

  exist.



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Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 43 of 55 PageID #: 120



           152.   Sixth, the Asylum IFR is arbitrary and capricious because its rationales are obviously

  pretextual. The actions of the President, Secretary Mayorkas, and other Administration officials have

  made clear that the intent of the Administration’s immigration policies is to incentivize illegal immi-

  gration. Indeed, that the Administration’s immigration policies incentivize high amounts of illegal im-

  migration is widely recognized internationally. For example, the President of Mexico called President

  Biden the “migrant president” and observed that the Biden Administration’s policies and rhetoric

  greatly incentivize illegal immigration.28 Human traffickers have recognized this as well. Internal Mex-

  ican government assessments “state that gangs are diversifying methods of smuggling and winning

  clients as they eye U.S. measures that will ‘incentivize migration.’”29 The presence of such blatant

  pretext is enough to render the Asylum IFR arbitrary and capricious. Dep’t of Com. v. New York, 139 S.

  Ct. 2551, 2575-76 (2019). Accepting Defendants’ description of the Asylum IFR requires this Court

  to “‘exhibit a naiveté from which ordinary citizens are free.’” Id.

           153.   Seventh, the Asylum IFR fails to account for the significant planning and additional

  funding required to implement it, and fails to justify these costs versus maintaining the status quo. For

  example, the Asylum IFR will require Defendants to redraft all training materials, retrain existing of-

  ficers, and ultimately hire hundreds (if not thousands) of new AOs. This failure is particularly egregious

  because DHS only just recently narrowly escaped financial ruin in the midst of the COVID-19 pan-

  demic.

           154.   Eighth, the Asylum IFR fails fully to consider the effects of eliminating the adversarial

  nature of asylum proceedings and the salutary nature of adversarial proceedings for determining the

  true facts of a situation. This failure is particularly egregious because the Asylum IFR would place




  28
      Dave Graham, “Exclusive: ‘Migrant president’ Biden stirs Mexican angst over boom time for
  gangs,” Reuters, Mar. 10, 2021 https://reut.rs/3vKlk1x.
  29
     Id.


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Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 44 of 55 PageID #: 121



  asylum adjudications solely in the hands of AOs who have an established and documented track record

  of granting credible fear determinations to unmeritorious claims, which has led to their record of

  having a greater-than-85% failure rate in approving non-meritorious asylum claims at the credible fear

  stage.

           155.   Ninth, the Asylum IFR’s claimed justification of a backlogged immigration court sys-

  tem is pretextual, as only 17% of EOIR’s pending caseload is credible fear referrals. And because more

  than one-third of all aliens referred to EOIR for a credible fear determination never actually bother

  to file an application, the proportion of “real” asylum cases before EOIR is even smaller.30

           156.   Tenth, the Asylum IFR fails to account for the reality that the vast majority of asylum

  claims have no merit and that AOs have a terrible track record of correctly adjudicating aliens’ credible

  fear claims. Between FY2008 and the third quarter of 2021, the grant rate for asylum matters originat-

  ing from credible fear referrals made by AOs was only 12.69%. Furthermore, in absentia removal order

  rates for such cases are very high. This means that most aliens being placed into immigration court

  proceedings following a positive credible fear determination by AOs are being ordered removed. The

  current system is rife with fraud and frivolous claims. Rather than make the system stricter to solve

  these problems, the Asylum IFR inexplicably relaxes requirements even further, thus making it even

  easier for aliens with meritless claims improperly to gain entry into the United States.

           157.   Eleventh, the Asylum IFR eliminates the requirement that aliens arriving at the border

  complete a full complete asylum application on paper. Instead, the Asylum IFR treats an alien’s oral

  asylum claim as a complete asylum application. In contrast, aliens already inside the United States who

  file an asylum application would still be required to submit a full asylum application on paper. This

  improperly provides more favorable treatment to aliens who cross the border illegally, and will also



  30
   EOIR, Executive Office for Immigration Review Adjudication Statistics: Pending I-862 Proceedings Originating
  With a Credible Fear Claim and All Pending I-862s (July 2021), https://bit.ly/3OEe1kj.


                                                       44
Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 45 of 55 PageID #: 122



  create significant administrative problems, as judicial review of such oral asylum applications will be

  nearly impossible in the absence of a clear record of the alien’s asylum claims.

            158.   Twelfth, the Asylum IFR makes it significantly easier for aliens with non-meritorious

  asylum claims to get work authorization, and it fails to consider the effect that this change will have

  on illegal immigration rates, unemployment rates for citizens and authorized aliens, and the effect on

  wages. The Asylum IFR treats a positive credible-fear finding, which has little relation to whether an

  individual will ultimately qualify for asylum, as a properly filed asylum application that starts the clock

  for eligibility to file for work authorization. Because a large percentage of aliens who meet the credible

  fear bar never even apply for asylum, this change makes it significantly easier for aliens with non-

  meritorious asylum claims to get work authorization, and to get it sooner. This change will greatly

  incentivize aliens who lack meritorious asylum claims to enter the United States and falsely claim

  asylum.

            159.   For each of these independently sufficient reasons, the Asylum IFR is arbitrary and

  capricious.

                                             COUNT V
                          Administrative Procedure Act, 5 U.S.C. § 706(2)(A)
                              Arbitrary and Capricious Agency Action
                                              (Parole)
            160.   Plaintiff States repeat and incorporate by reference each of the Complaint’s allegations

  stated above.

            161.   The APA prohibits agency actions that are “arbitrary, capricious, an abuse of discre-

  tion, or otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A). As explained supra ¶¶140-43,

  agency action is arbitrary and capricious, and thus unlawful, if the agency failed to analyze and consider

  relevant factors and important aspects of the problem.

            162.   The Asylum IFR’s parole provisions are arbitrary and capricious for multiple inde-

  pendently sufficient reasons, including the following.


                                                      45
Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 46 of 55 PageID #: 123



          163.     First, Defendants have failed to analyze and consider how their own failure to maintain

  detention capacity affects the purported need to parole aliens into the United States. For example, at

  the same time Defendants claim that their detention facilities are at overcapacity, Defendants submit-

  ted a budget request to Congress that would decrease DHS’s alien detention capacity by 25%.31 More-

  over, Defendants affirmatively have degraded their own detention capacity by cancelling contracts

  with private detention facilities and by closing detention facilities.32

          164.     In addition, even where DHS has capacity, it has often failed to utilize it. For example,

  an April 12, 2022 DHS Inspector General Report explains how DHS acquired detention capacity from

  hotels from no-bid contracts and then inexplicably failed to use it: indeed, DHS “spent approximately

  $17 million for hotel space and services at six hotels that went largely unused between April and June

  2021” and “did not adequately justify the need for the sole source contract to house migrant families.”

  The Asylum IFR is arbitrary and capricious as it fails to account for Defendants’ failure to employ the

  detention capacity they have spent millions of dollars to obtain, but apparently prefer to keep utilized

  so that they can grant parole en masse on the basis of putative lack of detention space. This arrange-

  ment—premised on no-bid contracts to politically favored entities—is as corrupt as it is violative of

  the APA.

          165.     Defendants’ failure to address the Inspector General’s report (of which they had

  knowledge at the time the Rule was promulgated) further renders the Rule arbitrary and capricious.

          166.     Second, Defendants have failed to explain their deviation from prior practice. Specifi-

  cally, current regulations strictly limit when aliens pending a credible fear interview or in expedited




  31
     Eileen Sullivan, Biden to Ask Congress for 9,000 Fewer Immigration Detention Beds, NEW YORK TIMES,
  (Mar. 25, 2022), https://nyti.ms/3vOI00F.
  32
     Id.; Priscilla Alvarez, Biden administration to close two immigration detention centers that came under scrutiny,
  CNN (May 20, 2021), https://cnn.it/3KcxGol.


                                                          46
Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 47 of 55 PageID #: 124



  removal may be paroled, so that it is permitted only when “parole is required to meet a medical emer-

  gency or is necessary for a legitimate law enforcement objective.” 8 C.F.R. § 235.3(b)(2)(iii) and

  (b)(4)(ii). This limitation is consonant with Congress’s intent to strictly limit Defendants’ use of the

  parole power. Defendants claim that elimination of these constraints on the parole authority will allow

  them to process more families through expedited removal proceedings and “facilitat[e] their expedi-

  tious removal.” 87 Fed. Reg. at 18,109. However, this justification is obviously pretextual, as Defend-

  ants have issued guidance strictly limiting removal of such aliens, and the number of removals under

  the Biden Administration has dropped precipitously. See, e.g., September 30, 2021 DHS Permanent

  Guidance Memo; Arizona v. Biden, No. 21-CV-314, ECF No. 4-11 at 12 (S.D. Ohio Nov. 23, 2021)

  (deposition testimony of Acting Phoenix ICE Director Albert Carter noting a “big dropoff in remov-

  als” beginning in February 2021).

                                            COUNT VI
                         Administrative Procedure Act, 5 U.S.C. § 706(2)(D)
                         Lack of Notice and Comment – Logical Outgrowth
          167.    Plaintiff States repeat and incorporate by reference each of the Complaint’s allegations

  stated above.

          168.    The APA provides that courts must “hold unlawful and set aside agency action” that

  is “without observance of procedure required by law.” 5 U.S.C. § 706(2)(D).

          169.    The APA requires agencies to publish notice of all “proposed rule making” in the

  Federal Register, id. § 553(b), and to “give interested persons an opportunity to participate in the rule

  making through submission of written data, views, or arguments,” id. § 553(c). Thus, the Asylum IFR

  can be issued, if at all, only via notice-and-comment rulemaking under the APA. 5 U.S.C. § 553.

          170.    Such requirements “are not mere formalities” but rather “are basic to our system of

  administrative law.” NRDC v. Nat’l Highway Traffic Safety Admin., 894 F.3d 95, 115 (2d Cir. 2018).

  “Section 553 was enacted to give the public an opportunity to participate in the rule-making process.



                                                     47
Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 48 of 55 PageID #: 125



  It also enables the agency promulgating the rule to educate itself before establishing rules and proce-

  dures which have a substantial impact on those who are regulated.” U.S. Dep’t of Labor v. Kast Metals

  Corp., 744 F.2d 1145, 1153 n.17 (5th Cir. 1984); see also NRDC, 894 F.3d at 115 (notice and comment

  serves “the public interest by providing a forum for the robust debate of competing and frequently

  complicated policy considerations having far-reaching implications and, in so doing, foster reasoned

  decisionmaking”); Spring Corp. v. FCC, 315 F.3d 369, 373 (D.C. Cir. 2003) (notice and comment “en-

  sures fairness to affected parties[] and provides a well-developed record that enhances the quality of

  judicial review”).

          171.    The Asylum IFR is not an interpretive rule, general statement of policy, or a rule of

  agency organization, procedure, or practice otherwise exempt from notice-and-comment rulemaking.

          172.    The Asylum IFR was issued as an interim final rule, thus becoming effective without

  additional notice or comment.

          173.    The Asylum IFR makes twenty-three major changes from the initial NPRM. See 87

  Fed. Reg 18,081-18,084 (summarizing the twenty-three major changes). “[A]gencies may not ‘pull a

  surprise switcheroo’” between a proposed and final rule. Allina Health Servs. v. Sebelius, 746 F.3d 1102,

  1108 (D.C. Cir. 2014). When a final rule has major changes from the proposed rule, the “logical out-

  growth” test governs whether an agency must submit the rule again for notice-and-comment before

  it may take effect. “As the Supreme Court recently explained [in Long Island Care at Home, Ltd. v. Coke,

  551 U.S. 158 (2007)], the object of the logical outgrowth test is one of fair notice.” Owner-Operator

  Indep. Drivers Ass’n, Inc., v. Fed. Motor Carrier Safety Admin., 494 F.3d 188, 209 (D.C. Cir. 2007) (citations

  omitted).

          174.    Defendants claim that the Asylum IFR is a logical outgrowth of the NPRM merely

  because the changes in the IFR “were adopted in response to comments received.” 87 Fed. Reg. at

  18,195. However, the twenty-three changes to the Asylum IFR are not a “logical outgrowth” of the



                                                       48
Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 49 of 55 PageID #: 126



  NPRM because a “reasonable commenter” would not “have anticipated that such ... requirement[s]

  would be promulgated,” and the NPRM did not provide notice “sufficient to advise interested parties

  that comments directed to the controverted aspect of the final rule should have been made.” First Am.

  Discount Corp. v. Commodity Trading Futures Ass’n, 222 F.3d 1008, 1015 (D.C. Cir. 2000) (cleaned up).

  The Asylum IFR therefore may not take effect until commenters are provided “their first occasion to

  offer new and different criticisms which the agency might find convincing.” Ass’n of Battery Recyclers,

  Inc. v. EPA, 208 F.3d 1047, 1058-59 (D.C. Cir. 2000) (citation omitted).

         175.    Indeed, Defendants themselves recognize that the changes in the Asylum IFR are ma-

  jor changes requiring further comment from the public, “acknowledge[ing] that [DOJ and DHS]

  would benefit from the public’s input on the provisions in this IFR as well as the IFR’s implementa-

  tion.” 87 Fed. Reg. at 18,195.

         176.    Because the logical outgrowth test requires that the Asylum IFR be subject to an ad-

  ditional round of notice-and-comment before taking effect, the Asylum IFR must be “held unlawful

  and set aside” as it was promulgated “without observance of procedure required by law.” 5 U.S.C.

  § 706(2)(D).

         177.    Furthermore, considering the magnitude of the Asylum IFR’s impact on State author-

  ities, it was incumbent on Defendants to consult with the States on both the wisdom and implemen-

  tation of such a far-reaching endeavor, and failure to do so was not harmless error. See Johnson, 632

  F.3d at 931 (“An overreaching harmless error doctrine would allow the agency to inappropriately

  ‘avoid the necessity of publishing a notice of a proposed rule and perhaps, most important, [the

  agency] would not be obliged to set forth a statement of the basis and purpose of the rule, which

  needs to take account of the major comments—and often is a major focus of judicial review.’”); 2

  U.S.C. § 1534(a) (“[e]ach agency shall . . . develop an effective process to permit elected officers of




                                                    49
Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 50 of 55 PageID #: 127



  State, local, and tribal governments . . . to provide meaningful and timely input in the development of

  regulatory proposals containing significant Federal intergovernmental mandates.” (emphasis added)).

          178.    Under these circumstances, Defendants’ failure to comply with the APA’s notice and

  comment provisions is fatal to the Asylum IFR. Johnson, 632 F.3d at 928-29 (“Without good cause, we

  must enforce Congress’s choice in favor of the traditional, deliberative rulemaking process.”).

                                            COUNT VII
                         Administrative Procedure Act, 5 U.S.C. § 706(2)(D)
                                       Notice and Comment
                                  (Failure to Address Comments)
          179.    Plaintiff States repeat and incorporate by reference each of the Complaint’s allegations

  stated above.

          180.    The Asylum IFR is a rule that can be issued, if at all, only by notice-and-comment

  rulemaking under the APA. 5 U.S.C. § 553.

          181.    The Asylum IFR failed to take account of the States’ comments, either summarily

  rejecting them without substantive explanation, or outright ignoring them. For example, a coalition of

  16 states that includes most of the Plaintiffs submitted an 18-page comment that raised general con-

  cerns, as well as 10 specific comments about serious deficiencies in the proposed rule. See Comment

  Submitted by Louisiana and 15 other States, USCIS-2021-0012-4980 (Oct. 19, 2021),

  https://www.regulations.gov/comment/USCIS-2021-0012-4980. Defendants ignored much of the

  States’ comment and, for the aspects of the comment that they purported to address, they summarily

  disposed of the States’ comment in a cursory, dismissive fashion that refused to offer any substantive

  legal or factual basis for dismissing the States’ comment. E.g., 87 Fed. Reg. at 18,193-18,194 (cursorily

  rejecting States’ NEPA and federalism concerns without offering substantive legal or factual justifica-

  tion for rejection).

          182.    Furthermore, the Asylum IFR similarly fails to take account of other important com-

  ments from immigration subject-matter experts that point out a number of unlawful and misguided


                                                     50
Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 51 of 55 PageID #: 128



  aspects to the proposed rule, and which remain unchanged in the IFR. See, e.g., Comment Submitted

  by America First Legal Foundation, USCIS-2021-0012-5140 (Oct. 19, 2021), https://www.regula-

  tions.gov/comment/USCIS-2021-0012-5140; Comment Submitted by Center for Immigration Stud-

  ies, USCIS-2021-0012-2333 (Oct. 19. 2021), https://www.regulations.gov/comment/USCIS-2021-

  0012-2333.

          183.    Thus, the Asylum IFR must be “held unlawful and set aside” as it was promulgated

  “without observance of procedure required by law.” 5 U.S.C. § 706(2)(D).

                                         COUNT VIII
      Administrative Procedure Act, the INA, 5 U.S.C. §§ 702, 706(2)(B), U.S. Constitution
                                 Take Care Clause Violation
          184.    Plaintiff States repeat and incorporate by reference each of the Complaint’s allegations

  stated above.

          185.    The APA aside, the federal government cannot ignore federal statutes, and the Con-

  stitution—including the separation of powers doctrine and the Take Care Clause—provides a separate

  cause of action to challenge the conduct described in Count VII. See, e.g., Youngstown Sheet & Tube Co.

  v. Sawyer, 343 U.S. 579 (1952).

          186.    The U.S. Constitution requires that the President “take Care that the Laws be faithfully

  executed.” U.S. Const. art. II, § 3.

          187.    The Asylum IFR represents an abdication of multiple duties placed upon DHS to en-

  force U.S. immigration law, including clear statutory mandates.

          188.    Defendants’ issuance and implementation of the Asylum IFR thus violates the Presi-

  dent’s constitutional duty to “take Care that the Laws be faithfully executed.” U.S. Const. art. II, § 3.

                                         PRAYER FOR RELIEF
          NOW, THEREFORE, Plaintiffs request an order and judgment:




                                                     51
Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 52 of 55 PageID #: 129



          1.      Declaring, under 28 U.S.C. § 2201, that the Asylum IFR is arbitrary and capricious and

  unlawful under the APA;

          2.      Declaring, under 28 U.S.C. § 2201, that the Asylum IFR is contrary to law and in excess

  of statutory authority under the APA;

          3.      Declaring, under 28 U.S.C. § 2201, that the Asylum IFR violates the APA because it

  was promulgated without notice and comment;

          4.      Declaring, under 28 U.S.C. § 2201, that the Asylum IFR violates the INA, HSA, and

  the Secure Fence Act;

          5.      Declaring that the Asylum IFR was issued in violation of the Constitution, including

  the Take Care Clause, art. II, § 3;

          6.      Postponing the effective date of the Asylum IFR pursuant to 5 U.S.C. § 705;

          7.      Holding unlawful and vacating the Asylum IFR under 5 U.S.C. § 706;

          8.      Preliminarily and permanently enjoining, without bond, Defendants from applying the

  Asylum IFR;

          9.      Awarding Plaintiffs their reasonable fees, costs, and expenses, including attorneys’

  fees, pursuant to 28 U.S.C. § 2412; and

          10.     Granting any and all other such relief as the Court finds appropriate.




                                                    52
Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 53 of 55 PageID #: 130



  Dated: April 28, 2022                       Respectfully submitted,

                                               By:/s/ Elizabeth B. Murrill

   MARK BRNOVICH                              ELIZABETH B. MURRILL (La #20685)
     Attorney General                            Solicitor General
   BRUNN (“BEAU”) W. ROYSDEN III *            J. SCOTT ST. JOHN (La #36682)
     Solicitor General                           Deputy Solicitor General
   DREW C. ENSIGN *                           LOUISIANA DEPARTMENT OF JUSTICE
     Deputy Solicitor General                 1885 N. Third Street
   JAMES K. ROGERS *                          Baton Rouge, Louisiana 70804
     Senior Litigation Counsel                Tel: (225) 326-6766
   OFFICE OF THE ARIZONA ATTORNEY             murrille@ag.louisiana.gov
   GENERAL                                    stjohnj@ag.louisiana.gov
   2005 North Central Avenue
   Phoenix, AZ 85004                          Counsel for Plaintiff State of Louisiana
   beau.roysden@azag.gov
   drew.ensign@azag.gov                       ERIC S. SCHMITT
   james.rogers@azag.gov                        Attorney General
                                              D. JOHN SAUER *
   Counsel for Plaintiff State of Arizona       Solicitor General
                                              OFFICE OF THE MISSOURI
   LESLIE RUTLEDGE                            ATTORNEY GENERAL
     Arkansas Attorney General                Supreme Court Building
   NICHOLAS J. BRONNI*                        P.O. Box 899
     Solicitor General                        Jefferson City, MO 65102
   DYLAN L. JACOBS*                           Phone: (573) 751-3321
    Deputy Solicitor General                  John.Sauer@ago.mo.gov
   OFFICE OF THE ARKANSAS
   ATTORNEY GENERAL                           Counsel for Plaintiff State of Missouri
   323 Center Street, Suite 200
   Little Rock, Arkansas 72201                ASHLEY MOODY
   (501) 682-2007                               Attorney General
   Nicholas.Bronni@arkansasag.gov             JAMES H. PERCIVAL*
   Dylan.Jacobs@arkansasag.gov                  Deputy Attorney General of Legal Policy
                                              OFFICE OF THE FLORIDA
   Counsel for Plaintiff State of Arkansas    ATTORNEY GENERAL
                                              The Capitol, Pl-01
                                              Tallahassee, Florida 32399-1050
                                              Phone: (850) 414-3300
                                              james.percival@myfloridalegal.com

                                              Counsel for Plaintiff State of Florida




                                             53
Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 54 of 55 PageID #: 131



   CHRISTOPHER M. CARR                           LAWRENCE G. WASDEN
     Attorney General of Georgia                   Attorney General,
   STEPHEN J. PETRANY*                           BRIAN KANE*
     Solicitor General                             Chief Deputy Attorney General
   OFFICE OF THE GEORGIA                         OFFICE OF THE IDAHO ATTORNEY
   ATTORNEY GENERAL                              GENERAL
   40 Capitol Square, SW                         700 W. Jefferson Street, Ste. 210
   Atlanta, Georgia 30334                        P.O. Box 83720
   (404) 458-3408                                Boise, ID 83720
   spetrany@law.ga.gov                           Telephone: (208) 334-2400
                                                 Email: Brian.Kane@ag.idaho.gov
   Counsel for Plaintiff State of Georgia
                                                 Counsel for Plaintiff State of Idaho
   DEREK SCHMIDT
     Attorney General                            DANIEL CAMERON
   DWIGHT R. CARSWELL*                             Attorney General of Kentucky
     Deputy Solicitor General                    MARC MANLEY*
   OFFICE OF THE KANSAS ATTORNEY                   Associate Attorney General
   GENERAL                                       KENTUCKY OFFICE OF THE
   120 SW 10th Ave., 3rd Floor                   ATTORNEY GENERAL
   Topeka, KS 66612-1597                         700 Capital Avenue, Suite 118
   dwight.carswell@ag.ks.gov                     Frankfort, Kentucky
                                                 Tel: (502) 696-5478
   Counsel for Plaintiff State of Kansas
                                                 Counsel for Plaintiff Commonwealth of Kentucky
   LYNN FITCH
     Attorney General of Mississippi             AUSTIN KNUDSEN
   JUSTIN L. MATHENY*                              Attorney General
     Deputy Solicitor General                    DAVID M.S. DEWHIRST*
   OFFICE OF THE MISSISSIPPI                       Solicitor General
   ATTORNEY GENERAL                              MONTANA DEPARTMENT OF JUSTICE
   P.O. Box 220                                  215 N Sanders St
   Jackson, MS 39205-0220                        Helena, MT 59601
   Tel: (601) 359-3680                           P. (406) 444-2026
   justin.matheny@ago.ms.gov                     David.Dewhirst@mt.gov

   Counsel for Plaintiff State of Mississippi    Counsel for Plaintiff State of Montana




                                                54
Case 6:22-cv-01130-DCJ-CBW Document 2 Filed 04/28/22 Page 55 of 55 PageID #: 132



   DOUGLAS J. PETERSON                        JOHN M. O’CONNOR
     Attorney General                           Attorney General of Oklahoma
   JAMES A. CAMPBELL*                         BRYAN CLEVELAND*
     Solicitor General                          Deputy Solicitor General
   OFFICE OF THE NEBRASKA ATTORNEY            OKLAHOMA ATTORNEY GENERAL’S
   GENERAL                                    OFFICE
   2115 State Capitol                         313 NE 21st Street
   Lincoln, Nebraska 68509                    Oklahoma City, OK 73105
   Tel: (402) 471-2682                        Phone: (405) 521-3921
   jim.campbell@nebraska.gov
                                              Counsel for Plaintiff State of Oklahoma
   Counsel for Plaintiff State of Nebraska

   ALAN WILSON
     South Carolina Attorney General
   THOMAS T. HYDRICK*
     Assistant Deputy Solicitor General
   Post Office Box 11549
   Columbia, SC 29211
   (803) 734-4127
   thomashydrick@scag.gov

   Counsel for the State of South Carolina




   * Pro hac vice application forthcoming




                                             55
